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            EXHIBIT B
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The Hokie Handbook is designed to be a resource for you to make the most of your college experience.
Contained in this guide are expectations that we have of you as a community member, as well as the Student
Code of Conduct, the University Policies for Student Life, and other key policies and procedures that you are
required to know and observe. The information in this guide is applicable to all Virginia Tech students
(graduate, undergraduate, and professional) and student organizations. It is your responsibility to take the time
to review the contents of the handbook to assist in your success at Virginia Tech.




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SECTION I: PREAMBLE

Statement of Student Rights and Responsibilities
Virginia Tech is a place where the free exchange of ideas, in an atmosphere of civility, is valued both for
the good of the individual and for the entire community. To support the educational mission of the
university, to create an environment where all students have the same opportunity to succeed academically
and personally, and to promote health and safety, Virginia Tech has established policies that set standards
for student behavior. As a distinguished educational institution, Virginia Tech encourages students to rise
above the standards, to live and learn together in an atmosphere that is characterized by personal
intellectual growth, fruitful group interaction, mutual respect, ethical leadership, and to the good of each
individual and entire community.
Virginia Tech students are both individuals and members of a learning community. As individuals they
enjoy basic rights; as members of the learning community, they also accept certain responsibilities.
Students and the university share the responsibility for education. The university provides classes and
many other educational opportunities, as well as personal advice and guidance. Students are responsible
not only for studying, writing papers, taking exams, and completing assignments on time, but also for
knowing university regulations and course requirements for all levels of their programs of study. It is the
responsibility of all students to find and know the regulations and course requirements outlined in this
handbook and the Undergraduate and Graduate Course Catalogs and other academic policies.
As an institution of higher education, the university is further committed to creating and sustaining a
community that facilitates not only academic development, but also the personal development of its
members. Fundamental to this commitment is the expectation of the university that the individual
members of the community will:

•    Be honest.
•    Demonstrate respect for self. Demonstrate respect for others.
•    Demonstrate respect for the law and university policies, their administration, and the process for
     changing those laws, policies, and regulations.
In keeping with this commitment, the university has formulated the University Policies for Student Life to
guarantee each student’s freedom to learn and to protect the rights of others. The concept of rights and
freedoms carries with it corresponding responsibilities for which students are accountable. This policy is
included in this handbook. It is the responsibility of all students to know and abide by the regulations and
policies which govern their conduct as members of the Virginia Tech community. Behaviors that violate the
Student Code of Conduct are addressed through the student conduct system. Beyond the rights and
responsibilities outlined in this handbook, Virginia Tech students enjoy those rights guaranteed by the
Constitutions of the United States and of the Commonwealth of Virginia. Virginia Tech students are also
expected to abide by all applicable state, federal, and local laws.




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The Principles of Community
Virginia Tech is a public land-grant university, committed to teaching and learning, research, and outreach
to the Commonwealth of Virginia, the nation, and the world. Learning from the experiences that shape
Virginia Tech as an institution, we acknowledge those aspects of our legacy that reflected bias and
exclusion. Therefore, we adopt and practice the following principles as fundamental to our ongoing efforts
to increase access and inclusion and to create a community that nurtures learning and growth for all of its
members:
•    We affirm the inherent dignity and value of every person and strive to maintain a climate for work
     and learning based on mutual respect and understanding.
•    We affirm the right of each person to express thoughts and opinions freely. We encourage open
     expression within a climate of civility, sensitivity, and mutual respect.
•    We affirm the value of human diversity because it enriches our lives and the university. We
     acknowledge and respect our differences while affirming our common humanity.
•    We reject all forms of prejudice and discrimination, including those based on age, color, disability,
     gender, gender identity, gender expression, national origin, political affiliation, race, religion,
     sexual orientation, and veteran status. We take individual and collective responsibility for helping
     to eliminate bias and discrimination and for increasing our own understanding of these issues
     through education, training, and interaction with others.
•    We pledge our collective commitment to these principles in the spirit of the Virginia Tech motto of
     Ut Prosim (That I May Serve).

SECTION II: INTRODUCTION
Scope and Interpretation of Policies and Procedures
The policies and procedures outlined in this handbook are published annually and contain current
information about the university and regulations that apply to all students (graduate, undergraduate, and
professional) and student organizations. These policies include the Student Code of Conduct, which
outlines and defines behavioral expectations for all students and organizations, and the University Policies
for Student Life (UPSL), which are general university policies that serve as a guide for student behavior.
Violations of these policies are adjudicated through the University Student Conduct System and/or the
appropriate responsible department. They are applicable to students studying on the Blacksburg campus, as
well as those students at branch campuses, higher education centers, other university owned or leased
properties, or as outlined in the jurisdiction statement in this document.
Policies are valid for the period given. The university reserves the right to change those policies during the
academic year and notification is hereby given of that possibility. Substantive changes to the Student Code
of Conduct or the University Policies for Student Life will be published in the Collegiate Times and will
appear in this document. Students are expected to keep themselves informed on all policies affecting them.
Students may obtain written clarification of any policy in this document by writing to the Vice President
for Student Affairs or the Director of Student Conduct.




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Additional Community-Speciﬁc Guidelines
In addition to the Student Code of Conduct and the University Policies for Student Life, students
should be aware of additional student-life policies that may pertain to their involvement in particular
communities and/or use of certain services, including the following:

•    The Corps of Cadets regulations and other official directives, which specify additional and/or
     different policies governing cadet student life.
•    The Virginia Tech Student-Athlete Handbook and other official directives, which specifies
     additional and/or different policies governing student athlete behavior.
•    The Fraternity and Sorority Life regulations and other official directives, which specifies additional
     and/or different policies governing fraternities and sororities.
•    The Oak Lane Community Guide, which specifies additional and/or different policies governing
     organizations in "The Oak Lane Community" (also known as Special Purpose Housing).
•    The Housing Contract, which specifies additional and/or different policies for students living
     in or visiting the residence halls.
•    Dining Services specifies additional and/or different policies for dining plans.

Revision Process
The Student Affairs Policy Review Committee reviews the contents of this document for accuracy on
an annual basis. Recommendations, additions, deletions, and corrections on the material contained in
University Policies for Student Life and the Student Code of Conduct should be forwarded to the
Director of Student Conduct. The Student Affairs Policy Review Committee is convened by the
Director of Student Conduct.
Final authority for policy changes to this document rests with the Board of Visitors. Policy changes for the
UPSL and Student Code of Conduct generally start with the Student Affairs Policy Review Committee and then
are forwarded to the Commission on Student Affairs, University Council, and the Board of Visitors. The Vice
President for Student Affairs has the authority to issue administrative policy changes for this document.
Directors and department heads may issue procedures consistent with these policies.

SECTION III: THE UNIVERSITY STUDENT CONDUCT SYSTEM
Overview
The University Student Conduct System affects and applies to all currently enrolled students and to all
registered student organizations. Its major purpose is to help create a fair, just, and disciplined university
community. The University Student Conduct System supports the educational mission of the university by
educating students about appropriate behavior and by fostering a community in which academic success can
occur. The system is based on the assumption that students and groups have the capacity to assume
responsibility for their own behavior and that the university has the authority to establish an internal
structure for the enforcement of its policies and procedures, which students have agreed to accept by
enrolling in the university.
The mission of Student Conduct at Virginia Tech is to partner with Virginia Tech community members to
address student conduct that is inconsistent with university expectations and resolve interpersonal,
organizational, and community conflicts.


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Through a student-focused and learning- centered lens, we utilize a comprehensive approach of informal
and formal options to uphold community standards, foster personal growth and development of life skills,
and promote a civil learning environment.

Jurisdiction
The President of Virginia Tech is ultimately responsible for the discipline of all students at the university.
Administrative authority and responsibility for Student Conduct policies and procedures is delegated to the
Vice President for Student Affairs. Within Student Affairs, direct supervisory jurisdiction of disciplinary
matters involving violations of University Policies for Student Life and the Student Code of Conduct is
assumed by Student Conduct. The Director for Student Conduct serves as the Chief Student Conduct
Officer for the university.
Students and student organizations will be considered for disciplinary action whether violations are
committed on or off university property. For the purposes of disciplinary action only, a student is defined as
any individual who has accepted an offer of admission as an undergraduate, graduate, or professional
student and who has not yet graduated or officially transferred to another institution. If a student’s
enrollment lapses for more than one calendar year, the student will no longer be subject to disciplinary
action under this policy. In this policy, a lapse refers to a voluntary decision by the student not to enroll.
Students who are separated for disciplinary and/or academic reasons are still considered students for
disciplinary purposes.
For violations that do not occur on university property, action will be considered if university officials
decide that university interests are involved. Disciplinary action may be taken by the university against any
act constituting a violation of the law when the act is contrary to the university’s interests as an academic
community. For example, the university may act on information received from other higher education
institutions and other agencies from across the Commonwealth of Virginia. Additionally, Virginia Tech will
share information about individuals visiting our campus who engage in misconduct with other institutions
as appropriate. The university is especially concerned about high-risk behavior which threatens the lives,
health, safety, and academic success of our students and has deemed off-campus violations to be actionable
in the university Student Conduct system. Behaviors deemed high-risk include but are not limited to major
alcohol violations, illegal drug violations, hazing violations, major theft, abusive conduct, and gender-based
violence. When conduct violates both criminal law and the policies found in University Policies for Student
Life and the Student Code of Conduct, disciplinary action may be taken by the university, irrespective of
and separate from any criminal action. The university may proceed with disciplinary action before a trial or
postpone action until after a trial at the discretion of the university. Student Conduct uses the
preponderance of the evidence standard when determining responsibility for a violation of the Student
Code of Conduct.
The Commandant of Cadets administers those elements of the Student Conduct system that adjudicate
alleged violations of cadet regulations, directives, policies, and the Cadet Honor Code. Student Conduct, in
conjunction with the appropriate office (Fraternity and Sorority Life for Greek letter organizations and
Student Engagement and Campus Life for all other student organizations), will administer those elements of
the Student Conduct system that adjudicate allegations of misconduct related to student organizations.
Direct supervisory jurisdiction is assumed by Student Conduct. It is the responsibility of Student Conduct to
coordinate the adjudication process among the various adjudicating agencies. The following criteria will be
used to determine if an incident may be organizational activity, for which a student organization itself may
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be disciplined. This determination would not remove potential responsibility for the violation by the
participating individuals. A student organization can be considered for disciplinary action if any two of the
following characteristics are present:

•    The faculty advisor (if applicable) or any executive officer of the organization is aware of the
     incident sufficiently in advance of its occurrence to prohibit its taking place, and takes no action to
     prohibit it.
•    The faculty advisor (if applicable) or any executive officer of the organization knows the identity
     of the members involved in the incident and refuses to divulge that information to the appropriate
     university authorities or the police.
•    The incident takes place in any public area within a chapter house or in any public place.
•    The incident involves the expenditure of any organizational funds.
•    The incident involves or is actively or passively endorsed by a majority of the members of the
     organization.
•    The incident involves six or more members of the organization.

Student Conduct Procedures
Any student, faculty member, staff member, administrator, or concerned party may bring a complaint to the
attention of the Student Conduct Office for resolution. Persons who plan to bring a complaint against
a Virginia Tech student should notify Student Conduct of their intention to do so as quickly and as
prudently possible.
The university Student Conduct system is supported by a number of student affairs faculty members
who are certified by the Director for Student Conduct as university Student Conduct Officers.
These individuals have been specifically trained in student conduct and are knowledgeable about university
policies and student conduct system precedent. Student Conduct Committees are comprised of students
who are specifically trained and certified by the Director of Student Conduct in the university student
conduct process.
Alleged conduct violations by cadets of university policies and/or Corps of Cadets regulations are
adjudicated either by the Cadet Executive Committee or a Deputy Commandant hearing. The Cadet
Executive Committee consists of a panel of cadets in senior class standing trained by Student Conduct and
the Commandant’s staff. For cases involving the most serious alleged misconduct or misconduct by senior
cadets, a Deputy Commandant hearing is convened. In these serious cases the Deputy Commandant, who is
trained by Student Conduct and certified by the Commandant, makes findings and can assign sanctions. The
responsible Deputy Commandant or the Executive Committee Advisor (a Deputy Commandant)
coordinates with the appropriate representative in Student Conduct to determine the procedure for
adjudication. The Commandant is the final appellate authority for findings and assigned sanctions for
violations of corps regulations. Cadet regulations stipulate the detailed process of adjudicating alleged cadet
misconduct. The appeals process outlined in the Formal Conduct Hearing Appeals section applies to any
university sanctions.
When a complaint is received, it is reviewed to determine if there is a conflict to be resolved or if there is a
potential violation of the Student Code of Conduct. The involved student(s)/organization is/are contacted
for a meeting with a Student Conduct designee to discuss the incident in question. The purpose of the
meeting is to review the contents of the complaint and discuss options for resolution.


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Possible outcomes of this meeting include:

•    The complaint will be considered resolved if the Student Conduct designee believes that the
     complaint is unsupported by the available information.
•    All identified parties impacted by the conflict can agree to proceed via an adaptable conflict
     resolution (ACR) process.
•    There may be a potential violation of the student code of conduct and the complaint may be
     resolved through an agreed resolution.
•    The complaint is referred to a formal hearing and the student or organization is notified of
     Student Code of Conduct charges and the hearing date.
Adaptable Conflict Resolution
Adaptable conflict resolution (ACR) processes allow individuals involved in a conflict to have significant
influence over the resolution process and the outcome. If (1) all identified parties impacted by the conflict
agree to attempt resolution through one of these processes, and (2) the Student Conduct designee believes
that the process is an appropriate form of resolution, then arrangements will be made for resolution via
ACR. The nature of some complaints, especially those involving abusive conduct and gender-based
violence, may render ACR inappropriate.
Participation in an ACR process is voluntary and may or may not result in an agreement or resolution.
When a mutually satisfactory resolution is reached by the parties, the matter is resolved. By resolving the
matter through ACR, the student or organization agrees to fulfill any outcomes that are developed during
the meeting. Resolutions reached through ACR may not be appealed. If a resolution is not achieved through
an attempt at ACR or there is a failure to complete the agreed upon outcomes and the matter involved a
potential Student Code of Conduct violation, the Director for Student Conduct, or designee, will determine
if the complaint will be resolved through an agreed resolution or a formal hearing.
Agreed Resolution
The student or organization will meet with a conduct officer to discuss the specific incident in question.
The conduct officer will provide a copy of the complaint and ask the student or organization to make a
statement regarding their involvement in the reported incident. If the student or organization accepts
responsibility for the violation(s) of the Student Code of Conduct, the student or organization has the
option of resolving the case through an agreed resolution. By resolving the case through an agreed
resolution, the student or organization accepts responsibility for the alleged violation(s) and agrees to fulfill
any sanctions or educational assignments that are developed during the meeting. By entering into an agreed
resolution, the student or organization waives the right to a formal hearing and the outcome is final. If the
student or organization rejects the agreed resolution, the case will be referred to a formal hearing. A student
or organization may indicate their preference of an administrator or student conduct committee hearing,
absent special circumstances. Not receiving the preferred hearing body is not a basis for a formal appeal.
The Director for Student Conduct, or designee, reserves the right to refer cases to a formal hearing without
the opportunity to handle the case through an agreed resolution.
Bias-Related Case Resolution
When a complaint alleging a bias-related incident is received, the involved parties will be contacted for a
meeting with a Student Conduct designee to discuss the incident, the options for conduct resolution, and to
determine next steps. The pathway to resolve the case will be determined by the nature of the complaint,
whether a potential policy violation exists, and the requests of all parties involved, including the university.
Some incidents may not be suitable for adaptable conflict resolution or an agreed resolution.
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Formal Hearings
The student or student organization will be notified in advance of the conduct charges they have allegedly
violated, and the time, date, and location of the hearing. During the formal hearing, the conduct officer(s)/
committee will determine responsibility for the alleged violations, including sanctions, if necessary. The
outcome of that formal hearing will be final unless the hearing results in certain outcomes (see Student
Conduct Formal Hearing Appeals).
Provisions for Procedural Guarantees
In formal conduct hearings, a student or organization is entitled to the following procedural
guarantees:
    1. The student or organization will be provided with a written statement of charges sufficiently in
       advance of the hearing and in reasonable detail to allow the student or organization to prepare a
       case for the formal hearing.
   2. Although students or organizational representatives may remain silent during a formal hearing,
      they may choose to refute or question any information or witnesses and will be given an
      opportunity to present a rebuttal to the charges and to produce witnesses or written statements
      on their own behalf.
   3. To help them prepare their response, students or organizational representatives may choose an
      advisor, who may be present at the formal hearing but may not participate in the proceedings.
      The advisor’s role is specifically limited to conferring with their advisee. When the formal
      hearing involves an assault or any complaint where a student is the referral agent, and/or an
      alleged victim, the complainant and accused student may have a support person or advisor
      present throughout the formal hearing, but the support person may not participate
      in the process.
   4. At a formal hearing, the student or organizational representative may challenge the
      objectivity of any committee member or administrator, given reasonable cause to believe that
      the member may be biased or have a conflict of interest. (In the case of a committee formal
      hearing, the committee advisor will make a final ruling on any such challenge.)
   5. After the formal hearing, the student or organization may appeal the decision of the hearing
      officer or committee, provided there are appropriate grounds as found in the Student Conduct
      Formal Hearing Appeals section.
Gender-Based Violence Hearings
These incidents will be reviewed and/or investigated by the university's Title IX Coordinator (or
designee) and the information gathered by the Title IX Coordinator will be the basis of the complaint.
The Title IX Coordinator is Katie Polidoro. She can be reached at 540-231-1824 or polidoro@vt.edu.
Both students will be advised of their procedural guarantees in an informational meeting with a
representative from Student Conduct. A formal hearing will occur within 30 days of receipt of
information from the Deputy Title IX Coordinator. Hearings involving alleged gender-based violence
will be adjudicated by a mixed-gender team of university Student Conduct Officers. For incidents that
occur at the end of the fall or spring semester or during breaks, the 30-day timeframe for a hearing may
be adjusted at the discretion of the Director for Student Conduct.



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The Student Conduct Officers will request witnesses that they believe are necessary to the hearing. Both
students will have the option to bring any additional witnesses. For gender-based violence cases both
the complainant and the charged student have the same procedural guarantees and can file an appeal
(see Student Conduct Formal Hearing Appeals).
Formal Hearing Appeals
When the outcome of a formal hearing results in suspension, dismissal or denial of athletic privileges/
housing/network access, the charged student or organization may appeal. A written request for an
appeal, stating the specific grounds upon which the appeal is based, must be received in the Student
Conduct Office by the end of the seventh business day following notification of the decision regarding
the case. The day the decision is given is considered the first day of the appeal period.
Appeals submitted after the seventh business day will not be accepted except in extenuating
circumstances as determined by Student Conduct. For gender-based violence cases both the complainant
and the respondent can file an appeal regardless of the outcome. Both students have the same grounds to
appeal and the same timeframe in which to submit an appeal.
An appeal is defined as a written request for review of the original case. The burden is on the
appealing student or organization to demonstrate why the finding or sanction should be altered.
Sanctions do not typically take effect until the Appellate Officer decision is final.
Students or organizations may appeal their cases using forms available from Student Conduct. Appeals
must be based only on the following grounds: (1) denial of procedural guarantees, (2) significant and
relevant new evidence that was not available at the time of the hearing, and/or (3) sanctions/findings
that are unduly harsh or arbitrary. Appeal requests will be denied in cases not having sufficient grounds
in one or more of these areas.

Student Conduct Records
To comply with the provisions of the Family Educational Rights and Privacy Act of 1974 (as amended),
Virginia Tech will not release educational records or personally identifiable information contained
therein, other than directory information, without students’ written consent. For more information,
visit the University Registrar’s website. Student Conduct case records are private and will not be
released without a student's written consent or by order of a court of law. A copy of Student Conduct
case materials will stay on file in Student Conduct for a period of five years from the date of the incident,
after which time it will no longer be considered available for release. Student conduct sanctions from
previous cases will be considered by the hearing officer, when appropriate.
Notification of student conduct outcomes or decisions is given on a need-to-know basis and includes,
but is not limited to, the Dean of Students, the Commandant of Cadets in cases involving cadets, the
Office of the Graduate School in cases involving graduate students, the Director of Cranwell
International Center in cases involving international students, the Athletic Department in cases
involving varsity athletes, the Director of Housing and Residence Life in cases involving residence hall
students, and victims of crimes of violence (including abusive conduct and gender- based violence)
involving student respondents. Parents/guardians of students under age 21 will be notified if their
student is found responsible for a violation of the alcoholic beverage or illegal drug policies.
Other university agencies or organizations may be required to obtain written release before they
can receive notification. Student conduct cases involving student organizations are not private.


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Accordingly, hearing notification and sanction letters are sent to organizational advisors and national
headquarters (if applicable).
In the case of suspension or dismissal, notification is sent to the Office of the University Registrar,
the Virginia Tech Chief of Police and Director of Security, and the student's academic dean. In the case
of suspension, a temporary notation is placed on the student's official transcript: “suspended for a
violation of the Student Code of Conduct.” Upon the request of the student, this notation may be
removed at the end of the suspension period and once all sanctions are complete. These requests should
be made to the Director for Student Conduct. In the case of dismissal, a permanent notation is made on
the student's transcript: “dismissed for a violation of the Student Code of Conduct.” Lesser sanctions,
such as warnings and probations, do not affect a student's academic standing and do not appear on the
official transcript.

Student Code of Conduct
The following acts are prohibited for all students and student organizations:
Abusive Conduct: Any use of words or acts that cause physical injury, or threaten any individual, or
interfere with any individual’s rightful actions, including but not limited to the following:
   1. Assault – Verbal/Nonverbal: Words or actions that would cause an individual to fear for their
      immediate safety. Words can constitute assault when they are accompanied by the ability to inflict
      immediate harm.
   2. Battery: The use of physical force against an individual or acts that cause physical injury.
   3. Harassment: Conduct not of a sexual nature (including but not limited to physical, verbal, graphic,
      written, or electronic) that is sufficiently severe, pervasive, or persistent so as to threaten an
      individual or limit the ability of an individual to work, study, or participate in the activities of the
      university.
   4. Hazing – Individual/Group Behavior: Hazing is a criminal offense in the Commonwealth of
      Virginia. Hazing is prohibited in all forms. This policy is based on the proposition that students are
      entitled to be treated with consideration and respect at all times. It applies to all student
      organizations and individuals. Specifically, hazing is defined as any mental or physical requirement,
      request, or obligation placed upon any person which could cause discomfort, pain, fright, disgrace,
      or injury, is personally degrading or violates any federal, state, local statute, or university policy, the
      willingness of an individual to participate in such activity notwithstanding. Concurrently, the
      national Interfraternity Conference, the National Panhellenic Conference, and the National
      Panhellenic Council state unequivocally that hazing has no place in the collegiate fraternity and
      sorority system. In addition, the members of the Corps of Cadets are subject to the Virginia Tech
      Corps of Cadets Regulations Manual. In determining whether a specific behavior violates the hazing
      policy, consideration will be given to how the behavior relates to the university’s mission and
      purpose. Please refer to the expanded Hazing section for additional information.
   5. Recording and/or Distribution of Audio/Visual Material Without Consent: Making, attempting to
      make, sharing, or distributing an audio or visual recording of any person(s) without the knowledge
      and consent of all participants subject to such recordings, in locations where there is a reasonable
      expectation of privacy, and when the action is likely to cause injury, distress, or damage to one's
      reputation.
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    6. Stalking: Repeatedly contacting another person when the contact is unwanted. Additionally, the
       conduct may cause the other person reasonable apprehension of imminent physical harm or cause
       substantial impairment of the other person’s ability to perform the activities of daily life. Contact
       includes but is not limited to communicating with (either in person, by phone, or by computer) or
       remaining in the physical presence of the other person.
Actions Leading to the Conviction of Criminal Offenses: Any student convicted of a criminal
offense is subject to university disciplinary action.
Alcoholic Beverage: Each student is expected to comply with the alcohol regulations of the
Commonwealth of Virginia and the university. Members of the university community are
accountable for their decisions regarding the use of alcohol as well as behavior that occurs as a result
of these decisions. All state and international laws apply to Virginia Tech students. Please refer to
the expanded Alcoholic Beverages section for additional information.
Climbing: Unauthorized climbing inside or outside campus buildings or structures.
Damage or Destruction: Damage and/or destruction of property.
Disorderly or Disruptive Conduct: Engaging in disorderly or disruptive conduct that:
    1. Disturbs the peace.
    2. Interferes with the performance of the duties of public/civil officials.
    3. Interferes with the rights and/or activities of others.
    4. Interferes with the orderly functioning of the university and/or the performance of the duties of
       university personnel, including but not limited to studying, teaching, research, university
       administration, and blocking entrances and egress.
Failure to Comply: Failure to comply with a request and directives of university officials acting within
the scope of their authority. This includes, but is not limited to: failure of a student to present their
university identification card, failure to keep or attend a required meeting, and failure to leave an area
when requested by an authorized university official. Upon the request of the student questioned,
university officials must identify themselves and state the source of their authority.
Failure to Observe Rules and Regulations: Failure to observe rules and regulations issued by the
university, including all publications and notices pertaining to student life and student services.
(Publications for which all students are accountable include University Policies for Student Life, Parking
and Traffic Regulations, the housing and dining contract, and any written policies distributed to affected
students by the university administration. Residence hall students are accountable for the housing
contract and the information in the Housing, Residence Hall, and Dining Policies and Procedures
section of the Hokie Handbook; cadets are accountable for cadet regulations, directives, and policies;
affected fraternities/sororities are responsible for the Fraternity and Sorority Life Manual.)
Fire Safety: The misuse of firefighting equipment, unauthorized burning, disregarding fire alarm
signals, and tampering with equipment is prohibited. Specifically:
    1. Misuse of Firefighting Equipment: Misuse of firefighting equipment, including tampering,
       removing, or discharging a fire extinguisher or any other fire emergency equipment except when
       there is a real need for such equipment.

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   2. Unauthorized Burning: Unauthorized burning of any material in any university building or on
      university property, including arson.
   3. Disregard of Fire Alarm Signals: The disregard of a fire alarm signal or refusal to evacuate a
      building or a section of a building when a fire alarm is sounding.

   4. Tampering with Equipment: Tampering with detection or suppression equipment, including
      deliberately initiating false alarm or creating conditions that result in a false alarm, or any
      tampering that would cause a malfunction or non-function.
Forgery or Fraud: Forgery or fraud, including attempts to obtain any item of value under false
pretenses or falsification of official university documents.
Furnishing False Information:
    1. Perjury in a Conduct Meeting: Knowingly giving false information in a university student
       conduct meeting.
    2. Furnishing False Information: Knowingly giving false information to a university official
       who is performing their official duties.
Gambling: Participation in any form of illegal gambling.
Gender-Based Violence:
    1. Sexual Violence: Physical sexual acts perpetrated against a person’s will or where a person is
       incapable of giving consent due to the victim’s use of drugs or alcohol, or is unable to give
       consent due to an intellectual or other disability, or is not of legal age to consent as defined by
       law. Sexual violence includes rape, sexual assault, sexual battery, and sexual coercion.
            a. Sexual Assault: Actual or attempted sexual contact with another person without that
               person’s consent.
           b. Sexual Battery: Intentional touching of another person’s intimate parts without the
              person’s consent; or other intentional sexual contact with another person without that
              person’s consent.
           c. Sexual Coercion: Using physical or verbal aggression or pressure to force or attempt to
              force a person to touch another person’s intimate parts without that person’s consent.
           d. Rape: Penetration, no matter how slight, of (1) the vagina or anus of a person by any
              body part of another person or by an object, or (2) the mouth of a person by a sex organ
              of another person, without that person’s consent.
    2. Gender-based Harassment: Acts of verbal, nonverbal, or physical aggression, intimidation, or
       hostility based on sex or sex-stereotyping, even if those acts do not involve conduct of a sexual
       nature.
    3. Sexual Exploitation: An act or acts committed through non-consensual abuse or exploitation of
       another person’s sexuality for the purpose of sexual gratification, financial gain, personal benefit
       or advantage, or any other non-legitimate purpose. The act or acts of sexual exploitation are
       prohibited even though the behavior does not constitute one of the other sexual misconduct
       offenses.

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    4. Domestic Violence: A pattern of abusive behavior that is used by an intimate partner to gain or
       maintain power and control over the other intimate partner. Domestic violence can be physical,
       sexual, emotional, economic, or psychological actions or threats of actions that influence another
       person. This includes any behaviors that intimidate, manipulate, humiliate, isolate, frighten,
       terrorize, coerce, threaten, blame, hurt, injure, or wound someone.


    5. Dating Violence: Acts of physical or sexual abuse committed by a person who is or has been in a
       social relationship of a romantic or intimate nature with the victim.
           a. The existence of such a relationship shall be determined based on the reporting party's
                statement and with consideration of the length of the relationship, the type of
                relationship and the frequency of interaction between the persons involved in the
                relationship.
           b. Dating violence includes, but is not limited to, sexual or physical abuse or the threat of
                such abuse, but does not include acts covered under the definition of domestic violence.
Gender-Based Stalking: Repeatedly contacting another person when the contact is unwanted. Additionally, the
contact may cause the other person reasonable apprehension of imminent physical harm or cause substantial
impairment of the other person’s ability to perform the activities of daily life. Contact includes but is not limited
to communicating with (either in person, by phone, or by computer) or remaining in the physical presence of
the other person.
Hazardous Materials: Unauthorized possession or use of fireworks, explosives, or hazardous materials.
Hazardous materials that could pose a health risk are also prohibited from the campus, including chemicals that
when combined with other substances could be hazardous or present a danger to others. Specifically:
   1. Fireworks: Unauthorized possession or use of fireworks is prohibited.
    2. Explosives: Unauthorized possession or use of explosives is prohibited.
    3. Hazardous Materials: Hazardous materials that could pose a health risk are also prohibited
       from the campus, including chemicals that when combined with other substances could be
       hazardous or present a danger to others.
Illegal Drugs: The illegal use or possession of any controlled substance is strictly prohibited by the
university. The illegal use of controlled substances is incompatible with the goals of the academic
community. Illegally possessing, using, manufacturing, possessing with intent to manufacture, selling,
dispensing, or distributing any substance controlled under state or federal law is prohibited. Possession
of used or unused drug paraphernalia is also prohibited (unless there is a documented medical need).
Additionally, misusing and abusing medications or prescribed medications (controlled under state or
federal law) is prohibited. Students can be suspended or dismissed from the university for a first
offense. Students who are also university employees are also subject to employee discipline. Please refer
to the expanded Controlled Substances section for additional information.
Improper Use of Identification Cards: The possession or manufacturing of any false or altered form of
identification, the improper use of any identification card, including knowingly altering or mutilating a
university student identification card, or using the identification card of another, or allowing one’s own
card to be used by another.


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Interference with the Student Conduct Process: Attempting or actively influencing, impeding,
intimidating, interfering, or coercing any person involved in a potential, actual, or past student
complaint. This includes but is not limited to encouraging or influencing another person to commit an
abuse of a university conduct system, discouraging an individual’s proper participation in, or use of, the
university conduct process, or distributing or interfering with the orderly process of a conduct
proceeding.
Involvement in a University Violation: Presence during any violation of the Student Code of Conduct
and/or the University Policies for Student Life in such a way as to condone, support, or encourage that
violation. (Note: Students who anticipate or observe a violation of university policy are expected to
remove themselves from participation and are encouraged to report the violation.)
Public Urination/Nudity: Any act or attempted act of public nudity, including but not limited to
streaking, mooning, and urinating in public.
Tampering with University Equipment: Tampering with university equipment, including but not
limited to any elevator, wiring, plumbing, doors, locking mechanisms, or other university equipment
without prior authority from the appropriate university official. Tampering with equipment so as to
endanger oneself or others may result in serious disciplinary action for a first offense.
Theft: Theft, attempted theft, or possession of stolen property. Theft of property having substantial
value may result in serious disciplinary action for a first offense.
Throwing Objects: Throwing, dropping, or projecting objects or substances out of or onto vehicles,
buildings, or other university structures. This includes but is not limited to food, garbage, snowballs,
water or water balloons.
Unauthorized Entry: Entering, attempting to enter, or being present in buildings, residences, public or
private property, and/or facilities or other areas without proper authority.
Visitation/Guest Policies: Students or organizations will be held responsible for the conduct of their
guests. Students or organizations who invite guests to campus and the residence halls are expected to
inform them of all university rules and regulations. Refer to the housing contract and Housing,
Residence Hall, and Dining Policies and Procedures for additional information regarding residence hall
visitation rules and regulations.
Weapons: Unauthorized possession, use, or storage of firearms, ammunition, or weapons on university
property at any location, either permanent or temporary, owned or leased by Virginia Tech.
This includes, but is not limited to, satellite campuses and offices, the buildings, grounds, and the
surrounding perimeters, including the parking lots, field locations, classrooms, alternate work or
class locations, and vehicles owned or leased by the university. (Note: Virginia Tech Corps of Cadets
weapons are governed by the Virginia Administrative Codes. Please refer to 8VAC105-20.)
Refer to Virginia Polytechnic Institute and State University Policy and Procedures No. 5616 for
additional information.




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Statement on Sanction Enhancements for Policy Violations
Motivated by Bias
Any violation of the Virginia Tech Student Code of Conduct motivated by an individual’s age, color, disability,
sex (including pregnancy), gender, gender identity, gender expression, genetic information, national origin,
political affiliation, race, religion, sexual orientation, or veteran status (as stated in Virginia Polytechnic Institute
and State University Policy and Procedures No. 1025) will be deemed an aggravating circumstance and will
subject the student to a sanction more severe than would be imposed in the absence of such motivation. This
sanction enhancement will not apply in cases in which protected classes are specifically addressed within the
language of the policy, such as gender-based violence or gender-based stalking.

Expanded Policy Information
Alcoholic Beverage
Misuse and abuse of alcohol and controlled substances is in direct conflict with the goals and
objectives of any educational institution. Virginia Tech does not condone the misuse or abuse of
alcohol and controlled substances.
At Virginia Tech, members of the university community recognize that the possession and
consumption of alcoholic beverages by those under the age of 21 and the illegal possession and use of
controlled substances by any member of the university community violate laws of the Commonwealth
of Virginia and university policy. Further, members of the university community recognize that the
misuse or illegal use and possession of alcoholic beverages or controlled substances may pose serious
health and safety risks to those engaged in such behavior. Accordingly, students, staff, and faculty are
asked to support the following statement of responsibility:

As a member of the Virginia Tech community, I agree to:
    1. Abide by all state laws and university policies regulating alcoholic beverages and controlled
       substances.
    2. Encourage the development of an environment in which individuals can make informed,
       healthy, and responsible decisions about alcohol and controlled substances.
    3. Discourage the illegal or irresponsible behavior of others.
    4. Assume responsibility for my decisions and behaviors and accept the consequences resulting
       from those decisions and behaviors.

Statement on Self-Reporting and Bystander Intervention
Virginia Tech recognizes that the health and safety of students is of utmost importance. Therefore, it
is a collective desire that students will seek medical assistance for themselves or others who are
significantly intoxicated as a result of alcohol or other substances. We do not want students to feel as
though they are choosing between conduct consequences and seeking assistance. If someone requires
assistance, we want them to seek assistance for their health and safety. If medical assistance is sought,
Student Conduct will not pursue conduct charges against the individual or organization who sought
assistance, or the individual in need of assistance.




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Actively assisting requires that an individual:
    •   Call the rescue squad or the police or seek other individuals qualified to assess the student’s condition,
        such as a professional or student staff member in Housing and Residence Life.
    •   Stay with the intoxicated student until help arrives.
Egregious alcohol/illegal drug violations, violations having a significant individual or community
impact, and prior violations that demonstrate an actual, potential, or perceived pattern of behavior are
not likely to have outcomes that are mitigated and are not likely to be protected under this policy.
Those behaviors not covered under this statement include violations of the Code of Conduct other
than the alcohol/drugs policy, such as the following:
    •   Abusive conduct (i.e. assault, battery, harassment, stalking, recording/distributing images
        without consent)
    •   Sexual and gender-based violence
    •   Hazing
    •   Damage to property
    •   Fake ID
    •   Disorderly or disruptive conduct (i.e. behavior that interferes with the duties of a public/civil
        official, the rights and/or activities of others, or the orderly functioning of the university and/or
        the performance of the duties of university personnel)
    •   Endangering others through use, possession, or providing alcohol or the controlled substance
    •   Providing alcohol/drugs to minors under the age of 18
    •   Providing alcohol/drugs in bulk
    •   Bias related incidents
    •   Distribution or possession with the intent to distribute drugs
    •   Students who have prior alcohol/drug related conduct history or have engaged in high-risk
        alcohol/substance use before
    •   Action by police or other law enforcement personnel
Actions to be taken by Student Conduct:
    •   The assistance seeker and the individual in need of assistance will be required to meet with a
        member of Student Conduct if they met any of the current criteria for a violation of the
        alcohol beverage and/or illegal drug policies.
    •   Those persons will likely be issued substance-related educational requirements that may
        include, but are not limited to alcohol and/or drug education, counseling, and/or a substance
        abuse assessment.
    •   Document the actions taken by the student and the office.
    •   Failure to complete the educational assignments or treatment recommendations will
        typically result in further conduct action.
Accountability
Virginia Tech recognizes that the misuse and abuse of alcohol is a persistent social and health problem
in our society and that it interferes with the goals and objectives of any educational institution.
Accordingly, members of the university community who decide to serve or consume alcoholic
beverages are reminded that they are personally responsible for their conduct under all circumstances.
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Intoxication or ignorance of the law does not release an individual from that responsibility. Violations
of university policy occurring under such circumstances will be treated in the same manner as any other
violation. Violations of the Alcoholic Beverage Policy and any associated guidelines will result in
disciplinary action. Students who violate this policy will likely be required to complete substance-related
educational requirements as described above as part of their Student Conduct sanction. Violations of
state law also may be referred to the Virginia Tech Police. Students who are university employees are
subject to disciplinary job action.
Virginia Tech does not encourage the use of alcoholic beverages and strongly discourages illegal or
otherwise irresponsible use of alcohol, including the illegal sale of alcohol and distribution of alcohol to
those not of legal drinking age; for students and student organizations, the illegal sale of alcohol will
likely be considered a serious violation of the alcohol policy. Illegal sale is defined as any time money
changes hands and there is unlimited access to alcohol, including but not limited to selling cups and
cover charges for entertainment when alcohol is available. Members of the university community are
accountable for their decisions regarding use of alcohol and the behavior that occurs as a result of those
decisions. Virginia Tech fully complies with the alcohol regulations of the Commonwealth of Virginia.
All state laws apply to Virginia Tech students and student organizations. These laws prohibit possession
and consumption of all alcoholic beverages by persons under 21 years of age on all university grounds
and buildings.
The university community is reminded of the following information:
State Statutes
The Commonwealth of Virginia and the Virginia State Alcoholic Beverage Control Board have enacted
a variety of laws and regulations that govern alcoholic beverages. They are summarized as follows:
    1. Persons under the age of 21 are prohibited from possessing or consuming beer, wine, liquor, or
       other alcoholic beverages. Persons found in violation of this statute may be fined up to $2,500
       and imprisoned for a period of not more than 12 months. In addition, such person's Virginia
       driver's license may be suspended for a period of not more than one year. Those found guilty of
       a violation of this statute shall be ordered to pay a mandatory minimum fine of $500 or ordered
       to perform 50 hours of community service as a condition of their probation.
    2. Persons may be fined up to $100 for drinking in public.
    3. Persons found in possession of a false driver's license (also includes possession of another
       individual’s identification to make them appear to be 21 in order to purchase or consume
       alcohol) may be fined up to $1,000 and imprisoned for a period not to exceed six months.
       Driving privileges may be revoked for 30 to 365 days. Manufacture of a fake identification is a
       Class 1 misdemeanor violation, which may result in imprisonment for up to 12 months and/or
       up to a $2,500 fine.
    4. It is illegal for intoxicated persons, regardless of age, to purchase or to possess alcoholic
       beverages. Persons in violation of this statute may be fined up to $1,000 and imprisoned for a
       period not to exceed 12 months.
    5. It is illegal to serve or sell alcoholic beverages to persons who are intoxicated or suspected of
       being under the legal drinking age. It is also illegal to purchase alcoholic beverages for such
       persons. Individuals believed to be intoxicated are prohibited from remaining in an area where

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       alcoholic beverages are served. Persons found in violation of these statutes may be fined up to
       $1,000 and imprisoned for a period not to exceed 12 months.
   6. It is illegal to drive while under the influence of alcohol. Individuals are considered impaired if
      their blood alcohol content (BAC) exceeds 0.08 percent. Persons under the age of 21 who drive
      with a BAC of at least 0.02 percent but less than 0.08 percent may be fined up to $500 and have
      their driver's license suspended for up to six months.
   7. Persons with a BAC of 0.08 percent or higher or persons refusing a breath test will have their
      driver's license automatically revoked. Those who refuse a breath test may have their license
      suspended for up to 12 months. If a person is found to have a BAC of 0.15 percent or over, a
      minimum jail time of five days may be imposed. If they wish to have a restricted driver’s license
      during their suspension, they will be required to attend VASAP classes and have an ignition
      interlock. For a juvenile who is in violation, they can receive a minimum fine of
      $500 or 50 hours of community service. A person may be charged with a DUI for driving
      under the influence of narcotics.
   8. It is illegal to purchase alcoholic beverages from any person not licensed to sell them, to sell
      alcoholic beverages without the appropriate license, and to consume alcoholic beverages in any
      unlicensed public area.
Regulations
In compliance with the laws of the Commonwealth, and to maintain conditions conducive to
learning, possession or consumption of alcoholic beverages is only permitted according to the
following provisions:
   1. In the privacy of a student room, alcoholic beverages are permitted for those persons 21 years
      of age or older in accordance with state law, provided that at least one of the 21-year-old
      residents of the room is present. Possession or consumption of alcoholic beverages in any
      other area of the residence halls, including suite living rooms, is forbidden except at events
      authorized by residence life. Legal consumption of alcoholic beverages in living areas other
      than private student rooms (e.g., hallways and lounges) will be allowed only when specifically
      authorized by Housing and Residence life.
   2. Kegs of any description in student rooms or residence halls, including Oak Lane,
      are prohibited.
   3. The director of Fraternity and Sorority Life, in conjunction with the director of Housing and
      Residence Life, determines regulations concerning the use of alcoholic beverages in “Oak Lane
      Community” (also known as Special Purpose Housing) during parties. This information is
      published in the Oak Lane Community Guide.
   4. The Commandant of Cadets establishes and publishes regulations to be observed by cadets
      regarding the possession and consumption of alcoholic beverages. This information is
      published in the Cadet Regulations Manual.
   5. The possession and use of alcoholic beverages is prohibited on all other university property
      except in certain facilities that are fully registered with the Virginia Alcoholic Beverage Control
      Board (ABC). Alcoholic beverages may be served in other facilities as specified in this policy
      with an appropriate banquet license issued by the ABC Board. Private residences are subject to
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       ABC regulation, and those who hold university events in private residences are subject to state
       laws concerning the sale, possession, and consumption of alcoholic beverages.
           a. Alcoholic beverages may be served in accordance with ABC Board rules and
              regulations at approved functions located in the Inn at Virginia Tech and Owens
              Banquet Hall.
           b. Facilities that may be approved with an appropriate banquet license from the ABC
              Board include the Bowman Room in the Jamerson Athletic Center, the
              Commonwealth Ballroom, other banquet or meeting rooms in Squires Student Center,
              the Multipurpose Room and Graduate Student Lounge in the Graduate Life Center,
              and other self-contained rooms or areas in facilities that may, from time to time, by the
              specific designated university official.
           c. Alcoholic beverages may be served only at functions where the majority of attendees are
              of legal age for the consumption of alcoholic beverages.
           d. Alcoholic beverages may be served only at functions confined to areas that are not open
              to the public or that have public access. Typical areas where alcoholic beverages may not
              be served are outdoor plazas and patios, unfenced lawns, lobbies and reception areas.
           e. Alcoholic beverages may be served only as a complement to food service. Food service
              includes hors d'oeuvres or any food served within the context of receptions, dinners, or
              other meals.
           f. Sponsors of events to be held on campus at which alcohol is to be served must complete
              a registration request for space and submit the Beverage Request and Security Form. An
              ABC Banquet License may also be required. These forms must be received at least 30
              days prior to the event to allow time for processing. All event approval forms shall
              indicate whether alcoholic beverages will be served. Approval confirmation must be
              obtained before alcoholic beverages can be served.
           g. The event sponsor is responsible for the cost of a banquet license obtained through
              either a private or university registered caterer.
           h. The Virginia Tech Police shall be notified by copy of the approval form of all events on
              campus at which alcoholic beverages will be served.
           i. Sponsors of university events held at off-campus locations are responsible for ensuring
              that the rules and regulations of this policy are followed. Events held off- campus are
              exempted from the requirement to request event approval.
           j. If an event sponsor fails to secure event approval or a banquet license, future event
              approval requests from that sponsor will not be approved. If an event sponsor fails to
              obtain the appropriate ABC license, alcoholic beverages may be seized while the event is
              in progress, and service of alcoholic beverages will cease immediately. Additionally, the
              event is subject to cancellation at the discretion of the Virginia Tech Police, and the
              event sponsor could be charged with criminal violations of the ABC Code.
Alcoholic beverages are further governed by Virginia Polytechnic Institute and State University
Policy and Procedures No. 1015.

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Controlled Substances

Misuse and abuse of controlled substances is in direct conflict with the goals and objectives of any
educational institution. Virginia Tech does not condone the misuse or abuse of controlled substances.
The term “controlled substance” is used instead of the term “drugs” for two reasons. First, the term
“drugs” refers to any chemical substance that, when taken into the body, changes the chemistry and
functioning of the body. These changes may be positive or negative. Drugs that have a positive
therapeutic effect are generally called “medicine.” Those with negative effects are often called “drugs.”
For many people in society, the term “drug” carries a negative connotation. Second, “controlled
substances” is a term that refers to chemical substances whose distribution and use is controlled or
prohibited by some law or statute or whose distribution and use is permitted by a prescription issued
by a licensed practitioner. This term is useful in that it also distinguishes so- called over-the-counter
drugs from prescription and illegal drugs, which in essence make up the “controlled substances.”
In compliance with the Drug-Free Workplace Act of 1988, the Drug-Free Communities and Schools
Act Amendments of 1989, and the Commonwealth of Virginia’s Policy on Alcohol and Other Drugs of
1991, the following summary is provided for your information.
Controlled substances are classified under the Controlled Substances Act into “schedules” that indicate
their relative medicinal use and probability of abuse and dependence (addiction).
Virginia Tech's policy addresses these controlled substances.
Controlled Substances Schedules
Schedule I: The drug or other substance has a high potential for abuse. The drug or other substance has
no currently accepted medical use in treatment in the United States. There is a lack of accepted safety for
use of the drug or other substance under medical supervision. Some Schedule I substances are heroin,
LSD, marijuana, GHB, MDMA (Ecstasy), and methaqualone.
Schedule II: The drug or other substance has a high potential for abuse. The drug or other substance has
a currently accepted medical use in treatment in the United States or a currently accepted medical use
with severe restrictions. Abuse of the drug or other substance may lead to severe psychological or
physical dependence. Schedule II substances include morphine, PCP, cocaine, methadone, Ritalin, and
methamphetamine.
Schedule III: The drug or other substance has a potential for abuse less than the drugs or other
substances in Schedules I and II. The drug or other substance has a currently accepted medical use in
treatment in the United States. Abuse of the drug or other substance may lead to moderate or low
physical dependence or high psychological dependence. Anabolic steroids, codeine and hydrocodone
with aspirin or Tylenol, Ketamine, and some barbiturates are Schedule III substances.
Schedule IV: The drug or other substance has a low potential for abuse relative to the drugs or other
substances in Schedule III. The drug or other substance has a currently accepted medical use in
treatment in the United States. Abuse of the drug or other substance may lead to limited physical
dependence or psychological dependence relative to the drugs or other substances in Schedule III.
Included in Schedule IV are Darvon, Talwin, Equanil, Valium, Rohypnol, and Xanax.
Schedule V: The drug or other substance has a low potential for abuse relative to the drugs or other
substances in Schedule IV. The drug or other substance has a currently accepted medical use in
treatment in the United States. Abuse of the drug or other substances may lead to limited physical
dependence or psychological dependence relative to the drugs or other substances in Schedule IV.

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Over-the-counter cough medicines with codeine are classified in Schedule V.
Penalties
The law prescribes ranges of permissible penalties upon conviction. As required by the Federal Safe and
Drug-Free Communities and Schools Act of 1994, the pertinent state laws, including sanctions for their
violation, are summarized below:
   1. Possession of a controlled substance classified in Schedule I or II of the Drug Control Act, upon
      conviction, exposes the violator to a felony conviction for which the punishment is a term of
      imprisonment ranging from one to 10 years, or in the discretion of the jury or the court trying
      the case without a jury, confinement in jail for up to 12 months, and a fine up to $2,500, either
      or both.
   2. Possession of a controlled substance classified in Schedule III of the Drug Control Act, upon
      conviction, exposes the violator to a misdemeanor conviction for which the punishment is
      confinement in jail for up to 12 months and a fine up to $2,500, either, or both.
   3. Possession of a controlled substance classified in Schedule IV of the Drug Control Act, upon
      conviction, exposes the violator to a misdemeanor conviction for which the punishment is
      confinement in jail for up to six months and fine up to $1,000, either, or both.
   4. Possession of a controlled substance classified in Schedule V of the Drug Control Act, upon
      conviction, exposes the violator to a misdemeanor conviction for which the punishment is a fine
      up to $500.
   5. Possession of a controlled substance classified in Schedule I or II of the Drug Control Act with
      the intent to sell or otherwise distribute, upon conviction, exposes the violator to a felony
      conviction for which the punishment is imprisonment from five to 40 years and a fine up to
      $500,000. Upon conviction, the violator must be imprisoned for not less than five years, but may
      suffer life imprisonment and a fine up to $500,000.
   6. Possession of a controlled substance classified in Schedules III, IV, or V of the Drug Control Act
      or an imitation controlled substance which imitates a controlled substance classified in Schedule
      III, IV, or V, except for an anabolic steroid classified in Schedule III constituting a violation of
      Virginia Code §18.2-248.5, with the intent to sell or otherwise distribute, upon conviction
      exposes the violator to a misdemeanor conviction for which the punishment is confinement in
      jail for up to one year and a fine up to $2,500, either, or both.
   7. Possession of marijuana, upon conviction, exposes the violator to a misdemeanor conviction for
      which the punishment is confinement in jail for up to 30 days and a fine up to $500, either,
      or both.
      Upon a second conviction, punishment is confinement in jail for up to one year and fine up to
      $2,500, either, or both.
   8. Possession of less than one-half ounce of marijuana with the intent to sell or otherwise
      distribute, upon conviction, exposes the violator to a misdemeanor conviction for which the
      punishment is confinement in jail for up to one year and a fine up to $2,500, either, or both. If
      the amount of marijuana involved is more than one-half ounce to five pounds, the crime is a
      felony with a sanction of imprisonment from one to 10 years, or in the discretion of the jury or
      court trying the case without jury, confinement in jail for up to one year and a fine up to $2,500,
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        either, or both. If the amount of marijuana involved is more than five pounds, the crime is a
        felony with a sanction of imprisonment from five to 30 years.
    9. Notwithstanding the aforesaid provisions, Rohypnol shall be deemed to be listed on Schedule I
       for the purposes of penalties for violations of the Drug Control Act. Any person knowingly
       manufacturing, selling, giving, distributing, or possessing Rohypnol shall be punished under
       the penalties prescribed for other Schedule I controlled substances.
Policy
The illegal use or possession of any controlled substance is strictly prohibited by the university. The
illegal use of controlled substances is incompatible with the goals of the academic community.
Illegally possessing, using, manufacturing, possessing with intent to manufacture, selling, dispensing,
or distributing any substance controlled under state or federal law is prohibited. Possession of used or
unused drug paraphernalia is also prohibited (unless there is a documented medical need).
Additionally, misusing and abusing medications or prescribed medications (controlled under state or
federal law) is prohibited. Students can be suspended or dismissed from the university for a first
offense. Students who are also university employees are also subject to employee discipline.
Education
Throughout the year, the university provides a wide variety of educational programs designed
to increase student, staff, and faculty awareness and knowledge about alcohol and other
controlled substances. Most of these programs are offered free of charge and are open to members of
the university community and surrounding locale. The university’s programming efforts have received
recognition as some of the most comprehensive in the Commonwealth of Virginia. Other information
on federal drug trafficking laws and the effects of various drugs on the body is available from the Office
of Student Conduct.
Intervention and Prevention
The university provides a variety of resources for those with questions and concerns about the use or
misuse of alcoholic beverages and controlled substances. Support groups are available to members of
the university community. These resources are:
    • Hokie Wellness, 540-231-2233, 195 McComas Hall
    •   Cook Counseling Center, 540-231-6557, 240 McComas Hall
Confidential inquiries about community support groups and treatment programs can be made by
contacting Hokie Wellness. As an on-campus resource, The Recovery Community at Virginia Tech is a
student organization for those who are seeking a positive, sober, and social environment that supports
life without substance use. Student identities are kept anonymous. For more information, contact Hokie
Wellness.
Several community groups also meet regularly, including Alcoholics Anonymous, Adult Children of
Alcoholics, Al Anon, and Narcotics Anonymous.

Hazing

    1. Code of Virginia on Hazing
        §18.2-56. Hazing unlawful; civil and criminal liability; duty of school, etc., officials;
        penalty.

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    It shall be unlawful to haze so as to cause bodily injury, any student at any school or
    institution of higher education.
    Any person found guilty thereof shall be guilty of a Class 1 misdemeanor.
    Any person receiving bodily injury by hazing shall have a right to sue, civilly, the person
    or persons guilty thereof, whether adults or infants.
    The president or other presiding official of any school or institution of higher education
    receiving appropriations from the state treasury shall, upon satisfactory proof of the guilt
    of any student hazing another student, sanction and discipline such student in accordance
    with the institution's policies and procedures. The institution's policies and procedures
    shall provide for expulsions or other appropriate discipline based on the facts and
    circumstances of each case and shall be consistent with the model policies established by
    the Department of Education or the State Council of Higher Education for Virginia, as
    applicable. The president or other presiding official of any school or institution of higher
    education receiving appropriations from the state treasury shall report hazing which
    causes bodily injury to the attorney for the Commonwealth of the county or city in
    which such school or institution of higher education is, who shall take such action as he
    deems appropriate.
    For the purposes of this section, "hazing" means to recklessly or intentionally endanger
    the health or safety of a student or students or to inflict bodily injury on a student or
    students in connection with or for the purpose of initiation, admission into or affiliation
    with or as a condition for continued membership in a club, organization, association,
    fraternity, sorority, or student body regardless of whether the student or students so
    endangered or injured participated voluntarily in the relevant activity.
 2. Preamble
    The purpose of this policy is to ensure that students at Virginia Tech are not subjected to any
    type of hazing. It is the responsibility of all individuals associated with Virginia Tech to
    encourage an atmosphere of learning, social responsibility, and respect for human dignity.
    Hazing is a criminal offense in the Commonwealth of Virginia. Hazing is considered a serious
    violation of university policy and is prohibited in all forms. This policy is based on the
    proposition that students are entitled to be treated with consideration and respect at all times and
    it applies to all student organizations and individuals. Concurrently, the Inter/National
    governing bodies for fraternities and sororities state unequivocally that hazing has no place in
    the collegiate experience. In addition, the members of the Corps of Cadets are subject to the
    Virginia Tech Corps of Cadets Regulations Manual. In determining whether a specific behavior
    violates the hazing policy, consideration will be given to how the behavior relates to the
    university’s mission and purpose.
    Hazing is an unproductive and hazardous activity that is incongruous with this responsibility and
    has no place at this institution, either on or off campus. It is the opinion of this academic
    community that this kind of behavior is injurious to the individuals involved and the institution
    itself.
    This policy applies to all persons and groups associated with Virginia Tech, including but not
    limited to administrators, coaches, faculty, organization advisors, staff, students, athletic teams,
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     bands, fraternities, organizations, and sororities. Virginia Tech shall designate a formal and
     consistent process for receiving hazing complaints, require investigations into such reports, and
     ensure compliance with this policy.
 3. Definitions
    “Administrator” means a president, vice president, dean, head of a school, director of a
    program or campus office, or designee of one of the aforementioned individuals.
     “Organization” means association, athletic team, band, club, cooperative, corps, fraternity,
     order, society, sorority, or other similar group whose members primarily are students of the
     institution.
     “Staff” means any person employed directly by or retained through a contract with the
     institution, including a coach or supervisor of an organization, professor, or intern.
     “Student” means any person who is enrolled in or matriculating from the institution, registered
     or in attendance in a program operated by the institution, or who has been accepted for
     admission into any program operated by the institution.
     A “person” is defined as a university student, any associate member, member, affiliate,
     alumnus, guest of any campus organization, or other individual.
     Virginia Tech defines hazing as any mental or physical requirement, request, or obligation
     placed upon any person that could cause discomfort, pain, fright, disgrace, or injury; that is
     personally degrading; or that violates any federal, state, or local statute or university policy, the
     willingness of an individual to participate in such activity notwithstanding.
 4. Institutional Guidelines
    As it is impossible to anticipate every situation that could involve hazing, this list does not, and
    cannot, encompass every circumstance that will cause the institution to discipline for hazing.
    This policy is not intended to prohibit the following conduct:
         a. Customary athletic events, contests, or competitions that are sponsored by the
            institution or the organized and supervised practices associated with such events; or
         b. Any activity or conduct that furthers the goals of a legitimate educational curriculum,
            extracurricular program or military training program, as approved by the institution.
     Hazing shall include, but not be limited to, forcing, compelling, requiring, encouraging, or
     expecting, whether direct or implied, any individual to participate in any of the following
     actions or activities:
     Physical
         a. Encouraging or requiring persons to consume alcohol or other substances regardless of
            the age of the participant.
         b. Encouraging or requiring that a person do or submit to any act that will alter his or her
            physical appearance in any significant degree for any substantial period of time (e.g.
            burning, branding, tattooing, using makeup, paint or markers on a person, or shaving
            the head or body).
         c. Encouraging or requiring activities that disrupt a person’s normal schedule. A normal

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           schedule includes three reasonably spaced meals per day, the opportunity for sufficient
           rest at night (at least six full hours) and reasonable time for personal hygiene.
       d. Encouraging or requiring a person to engage in physical activity of unusual kind or
          duration, such as: calisthenics, overly difficult work assignments, activities that may be
          excessive for a person, activities that require a person to remain in a fixed position for an
          extended period of time, binding or restricting an individual in any way that would
          prohibit them from moving on their own, confining a person or exposing participants to
          uncomfortable elements like in environments that are too hot, cold, noisy, small, or
          threatening/intimidating.
       e. Hitting, pretending, or misleading a prospective member into believing that they will be
          hit, hurt, or physically altered.
       f. Encouraging or requiring acts that are or seem to be dangerous.
    Psychological
       g. Encouraging or requiring a person to pretend to or actually violate a law.
       h. Encouraging or requiring an individual to obtain or possess items or complete tasks in
          an unlawful manner (i.e. for a scavenger hunt).
       i. Verbally abusing prospective members. Examples include but are not limited to
          yelling or screaming, calling individuals demeaning names, booing, hissing, or
          demeaning individuals when they make mistakes.
       j. Encouraging or requiring a person to perform acts of servitude, perform personal
          errands for others, or engage in activities that are demeaning.
       k. Misleading prospective members in an effort to convince them that they will not
          become members unless they complete tasks, follow instructions, or act in a certain
          way.
       l. Misleading prospective members into believing that they will be hurt during
          induction or initiation.
       m. Encouraging or requiring a person to publicly carry objects or wear apparel that is
          abnormal, not normally in good taste, conspicuous and/or indecent.
       n. Encouraging or requiring a person to appear nude or reveal body parts.
       o. Encouraging or requiring an individual or group to remain in a certain place or
          transporting them to a location without their knowledge (e.g. taking a person on a
          road trip or excursion to an unknown destination or kidnapping).
       p. Parading individuals in public areas, transporting individuals in a motor vehicle
          while blindfolded, or privately conducting blindfolding activities that serve no
          constructive purpose.
       q. Requiring an individual to “pledge” or “associate” for a period of unusual length (more
          than 10-12 weeks) for reasons other than achieving academic requirements or
          extraordinary circumstances.
       r. Hazing also includes soliciting, directing, aiding, or otherwise participating actively or
          passively in the above acts.


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    5. Location
       This policy encompasses all acts of hazing that occur whether on or off campus. As such, an
       act of hazing by an individual or organization will be viewed by the institution as a violation
       of the institution’s hazing policy, regardless of where the act of hazing took place.
    6. Consent
      An individual may not consent to being hazed, and their voluntary or willful participation in
      hazing activities will not be considered as a defense against a violation of the institution’s
      hazing policy by an individual or organization.
    7. Reporting
      Any suspected violation of this policy should be reported in accordance with the institution’s
      reporting system. The initial report of a suspected violation may be reported in person, by
      phone or by electronic communication, and may be done anonymously. Alleged violations of
      this policy can be reported to the Virginia Tech Police Department, Student Engagement and
      Campus Life, Fraternity and Sorority Life, or Student Conduct.
    8. Distinction between Hazing by Organizations and by Individuals
       Hazing may be an individual act, organizational act, or both. The following statement
       will help distinguish hazing violations by individuals from hazing violations by student
       organizations.
      a. It is presumed that hazing incidents involve only those persons directly participating in the
         incident and those who are present at the time it occurs and who do nothing to stop its
         occurrence.
      b. A hazing incident may also be an organizational activity, for which the organization
         itself may be disciplined, if any of the following characteristics are present:
                 i. The faculty advisor, any executive officer of the organization or the person
                    charged with the administration of an orientation or pledge program is aware of
                    the incident sufficiently in advance of its occurrence to prohibit its taking place,
                    and takes no action to prohibit it.
                 ii. The faculty advisor, any executive officer of the organization or the person
                     charged with the administration of an orientation or pledge program knows
                     the identity of the members involved in the incident and refuses to divulge that
                     information to the appropriate university authorities or the police.
               iii. The incident takes place in any public area within a chapter house or in any
                    public place.
               iv. The incident involves the expenditure of any organizational funds.
                 v. The incident involves or is actively or passively endorsed by a majority of the
                    members of the organization.
               vi. The incident involves six or more members of the organization.




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Hazing Education
The officers, principally the president or chairperson, of each organization are responsible for
informing members and prospective members of this hazing policy. Student Engagement and
Campus Life and Fraternity and Sorority Life will do hazing education, as well as keep the
university community informed on the issue of hazing.

Gender-Based Violence
Gender-based violence includes the following prohibited acts: sexual violence-assault, sexual violence-battery,
sexual violence-sexual coercion, sexual violence-rape, gender-based harassment, sexual exploitation, dating and
domestic violence, and stalking.
Consent: Knowing, voluntary, and clear permission by word or action, to engage in mutually agreed
upon sexual activity. The existence of consent is based on the totality of circumstances, including the
context in which the alleged consent occurred. Silence does not necessarily constitute consent and
coercion, force or threat of either party invalidates consent.
    •   Consent cannot be given where a person is incapacitated due to drugs or alcohol; or where a person has
        a disability; or is not of legal age to consent as defined by law.
    •   Consent to any one form of sexual activity cannot automatically imply consent to any other forms of
        sexual activity. Consent can be withdrawn at any time.
    •   Previous relationships or prior consent cannot imply consent to future sexual acts.

Incapacitation: Includes but is not limited to being asleep, drugged, intoxicated, or unconscious.
We encourage victims of sexual violence, including rape, sexual assault, sexual battery, stalking, and dating and
domestic violence, to exercise their right to file a complaint with the Virginia Tech Police Department if the
crime occurs on Virginia Tech’s property, regardless of the status of the complainant. For crimes occurring
away from Virginia Tech’s property, victims may contact the local law enforcement in the appropriate
jurisdiction.
Responsible Employee: a person employed by Virginia Tech who has the authority to take action to redress sexual
violence, who has been given the duty of reporting acts of sexual violence or any other misconduct by
employees or students to the Title IX coordinator or other appropriate institution designee, or whom an
employee or student could reasonably believe has this authority or duty.
Information regarding where an individual can go to file a discrimination or harassment complaint including
Title IX:
Title IX Coordinator
Virginia Tech North End Center
300 Turner St.
Blacksburg, VA 24061
Phone: 540-231-2010
equityandaccess@vt.edu
Discrimination and harassment are further governed by Virginia Polytechnic Institute and State
University Policy and Procedures No. 1025.


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University Student Conduct Sanctions
The following student conduct sanctions may be imposed upon a student or student organization for
violation of university policy. Student conduct sanctions are generally cumulative in nature. This
information will only be relevant after a student accepts or is found responsible for the violation.
When multiple incidents occur over a short period of time, student conduct hearings are usually
scheduled in chronological order according to the date of the incident(s), and all student conduct
records are considered in determining an appropriate sanction. Scholarship and student aid committee
policy states that university scholarships are withdrawn for students on suspension or deferred
suspension, where acceptable university citizenship is a condition of the aid. This policy affects private
and some state awards but does not affect federal aid such as BEOG, SEOG, NDSL, SSIG work study,
and guaranteed student loans.

Student conduct sanctions may affect a student’s employment with the university such as undergraduate
or graduate teaching assistants, graduate assistantship, or other forms of employment.

Status Sanctions

Formal Warning
A Student or organization is officially notified that their actions have constituted a violation of university
policies and are, therefore, inappropriate. Further violations may result in more serious disciplinary action.
Probation
A Student or organization is notified that their status with the university for a specified period of time is
such that further violations of university policies will result in being considered for suspension from the
university. If at the end of the specified time period no further violations have occurred, the student is
removed from probationary status. Student organizations are notified that their status with the university
for a specified period of time is such that further violations of university policy will result in being
considered for loss of recognition from the university.
Deferred Sanction
In some cases, a sanction of suspension, dismissal, or a denial of privilege may be held in abeyance for a
specified period. This means that, if the student or organization is found responsible for any violation
during that period, they will be subject to the deferred sanction without further review in addition to the
disciplinary action appropriate to the new violation. During this time, the student organization may be
prohibited from participating in any social functions. For students involved in serious misconduct, the
conferring of an academic degree will be deferred for the duration of the sanction.
Suspension from the University
A Student is notified that they are separated from the university for a specified period of time. Students who
are suspended must leave campus within the time prescribed by the hearing/appeal officer. Permission to
return to Virginia Tech may be required by the Director for Student Conduct.
Permission must be granted before a student will be permitted to re-enroll. If the decision to suspend
a student is made, imposition of the suspension may be delayed until the following semester at the
discretion of the university. An example of this would be if the decision occurs very late in the semester.
Suspensions effective for the subsequent semester will be effective immediately following the conclusion of
the current semester. However, if the hearing officer feels that the health and safety of the student or the

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university community is at risk, the suspension may be effective immediately. A notation is placed on the
student's academic transcript: “suspended for a violation of the Student Code of Conduct.” For student
organizations, recognition with the university is withdrawn for a specified period of time. Permissions
to regain status may be required by the Director for Student Conduct and other appropriate university
officials. For students involved in serious misconduct that could result in suspension and have completed
their academic course work, the conferring of an academic degree will be withheld for a specified period
of time.
Dismissal
A student is notified that they are permanently separated from the university. A notation is placed on their
academic transcript: “dismissed for a violation of the Student Code of Conduct.” For student organizations,
the organization is notified that the university is permanently removing recognition of the organization.
If the decision to dismiss a student is made, imposition of the dismissal may be delayed until the following
semester at the discretion of the university. An example of this would be if the decision occurs very late in
the semester. Dismissals effective for the subsequent semester will be effective immediately following the
conclusion of the current semester. However, if the hearing officer feels that the health and safety of the
student or the university community is at risk, the dismissal may be effective immediately.

Educational Sanctions
Educational and Community Activity
A student or organization is required to demonstrate their responsibility as a member of the university
community by performing certain reasonable and relevant educational activities. Failure to complete the
educational activity by the time prescribed by the Student Conduct Officer/Student Conduct Committee
will result in one semester of suspension from the university (excluding summer). Failure of student
organizations to complete the educational activity by the time prescribed by the Student Conduct Officer/
Student Conduct Committee will result in withdrawal of university recognition for one semester (excluding
summer).
Restitution
A student or organization is required to make restitution for damage to university property.
Restitution may be in the form of monetary payment or community service.

Privilege Sanctions
Denial of Privileges or Associations
A student or organization is notified that, for a specified period of time, certain privileges or associations
within the university are withdrawn. This sanction includes but is not limited to termination of residence
hall contract, removal from athletic events, removal from the Corps of Cadets, denial of the privilege of
participating in recreational sports activities, revocation of the privilege of accessing certain university
facilities, and revocation of social function privileges for student organizations.

Interim Suspension Policy
The university retains the authority to impose an interim (immediate) suspension if such action is
necessary to preserve the safety of persons or property. In this instance, the students will be afforded an
interim suspension hearing and the opportunity to show why their continued presence on campus does
not constitute a threat to themselves, others, or property. The interim suspension hearing is separate

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from a formal student conduct hearing. A formal student conduct hearing will be provided as soon as
possible. Students may receive an interim suspension from the university or selected campus facilities
with proper notice. The following steps explain the procedure for imposing an interim suspension:
When a situation, as defined above, occurs, the responding university official contacts the Threat
Assessment Team or the Associate Vice President for Student Affairs or designee to assess the situation.
If the situation is sufficiently serious, the Threat Assessment Team or the Associate Vice President for
Student Affairs or their designee will determine if an interim suspension is appropriate.
The student will be sent an interim suspension letter immediately, which states that the student is
suspended from the university and/or banned from all or selected campus residential facilities until a
formal student conduct hearing can be convened. The Virginia Tech Chief of Police will be contacted to
determine if a ban from campus is needed. Upon receipt of the interim suspension, if the student is on
campus or in university facilities, the student will be escorted out of the facility and/or off campus by a
Virginia Tech Police Officer.
The student can immediately request an interim suspension review to be conducted by the Associate
Vice President for Student Affairs or their designee. The interim suspension letter will contain
instructions on how to request a review. Those present at the meeting may include the responding
university official and other witnesses as deemed appropriate by the Associate Vice President for
Student Affairs. During the review, the student will be given an opportunity to demonstrate why their
continued presence on campus does not constitute a threat to themselves, others, or property. As part of
the review, the student may be required to submit to an immediate medical/psychological evaluation.
The student will be evaluated by the Director of Cook Counseling Center or their designee.
The decision of the interim suspension review will be final. There will be no appeal. If the student does
not request a review, the interim suspension and/or ban from campus residential facilities will remain in
effect until the formal student conduct hearing is resolved.
Interim suspension information will be shared with Student Conduct. That office will schedule a formal
student conduct hearing as soon as possible to determine the final consequences of the initiating
behavior.

SECTION IV: UNIVERSITY POLICIES FOR STUDENT LIFE
Scope and Interpretation
The following sections contain general university policies for student life. All Virginia Tech students
(undergraduate, graduate, and professional) and student organizations are required to know and to comply
with these policies. Violations of this policy can be adjudicated by the governing department and/or
Student Conduct, when appropriate.

Absence Veriﬁcation
Students who miss class due to circumstances beyond their control can request to have the absence verified.
Each faculty member will make the final determination in allowing the request to make up missed
academic work. Verification of absence does not override the authority of a faculty member. For family or
personal emergencies, contact the Dean of Students Office (109 East Eggleston Hall, 540-231-3787). For
absence related to mental health, contact Cook Counseling Center (McComas Hall, 540-231-6557). For
absence related to physical health, contact Schiffert Health Center if you visited them (McComas Hall,

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540-231-6444). Please note, Schiffert Health Center will only verify absences resulting from prolonged
illness (at least five days). In addition, Schiffert does not notify faculty of one-time student appointments in
the Health Center. Students with documented health related absences who have not been connected to
Schiffert Health Center may request absence verification through the Dean of Students Office. Relevant
documentation is required for any verification of absence. The Dean of Students office does not verify
absences related to religious and ethnic holidays. For more information, please refer to Religious,
Cultural, Ethnic, Meaning-Making, and Faith Based Observances in the Hokie Handbook.

Access to Campus
Any person who engages in unlawful or disruptive conduct or violates university policy may be asked by
a Virginia Tech Police Officer to leave campus. The Virginia Tech Chief of Police has the authority to ban
a person from campus. Failure to comply with such requests and failure to abide by regulations governing
the use of university facilities constitute trespassing under Virginia state law and may lead to disciplinary
action and/or arrest.
Access to certain university facilities supported by the comprehensive student fee may be limited to
currently enrolled students who have paid the fee. Students should be prepared to present their university
identification cards in order to access a facility or service supported by the comprehensive fee. Students
who misuse identification cards in order to access university facilities or services may be referred for
student conduct action.

Acceptable Use of Information Systems
Acceptable use and administration of computer and communication systems is governed by Virginia
Polytechnic Institute and State University Policy and Procedures No. 7000. This policy covers all activities
involving computing and the communication facilities of Virginia Tech. Every user of these systems is
expected to know and follow this policy.

Bicycle and Personal Transportation Devices
The use of bicycles and personal transportation devices is governed by Virginia Polytechnic Institute and
State University Policy and Procedures No. 5005.

Class Attendance and Classroom Conduct
Class attendance and classroom conduct is governed by Virginia Polytechnic Institute and State University
Policy and Procedures No. 6330.

Continuing Duty to Report Arrests and Convictions to the University
Students have a continuing duty to promptly report to the Student Conduct Office any arrests or
convictions for violation of federal, state or local laws, or laws of other countries, excluding minor traffic
violations that do not include injury to others. This duty applies regardless of where the arrest occurred
(inside or outside the Commonwealth of Virginia), and regardless of whether the university is in session at
the time of the arrest or conviction.
Students must notify Student Conduct in writing (using the Arrest Disclosure and Conviction Form)
within 10 business days of the incident that led to their arrest or within five business days of the incident
that led to their conviction.


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Failure to comply with this continuing duty will result in the immediate referral of a student to Student
Conduct and may also result in imposition of an interim suspension by the Associate Vice President for
Student Affairs or their designee.
The continuing duty to report arrest and convictions were authorized by Presidential Policy Memorandum
No. 303. The form to complete the disclosure as well as frequently asked questions is available for
download.

Speech on Campus
Activities Protected under the First Amendment
As an academic community, Virginia Tech values the rights guaranteed by the First Amendment of the
United States Constitution and does not intend to restrict the exercise of these rights.
However, all members of the university community are responsible for respecting conditions that preserve
the freedom to learn. Protected activities do not violate university policy unless they interfere with
university functions, violate the rights of others, or otherwise break the law.
Incidents of disruption of constitutionally protected speech may be reported via the Speech on Campus
webpage.

Dining Policies (Abridged)
Virginia Tech students and student organizations that have a dining plan are required to know and to
comply with Dining Services’ policies and terms. Violations of policy can be adjudicated by the governing
department and/or Student Conduct, when appropriate.
Please refer to Section V: Dining and Housing and Residence Life Policies for additional information.

Event Approval and Facility Use
Event approval and facility usage is governed by Virginia Polytechnic Institute and State University Policy
and Procedures No. 5000. This policy ensures effective utilization of facilities, including academic spaces
and non-academic spaces. Both the rules and regulations for the approval and use of university facilities
and activities sponsored by students and registered student organizations are listed.

Housing and Residence Life Policies (Abridged)
As a member of the residential community, you are expected to abide by all of the standards of
responsibility and behavior outlined in this publication as well as the terms and conditions of your
housing/dining contract. Each student who resides on campus is required to sign a housing/dining
contract prior to assignment. You are responsible for familiarizing yourself with the terms and conditions
of the contract. You have the option of electronically signing the contract or requesting a paper copy; either
way, when the contract is signed and returned, it becomes a binding agreement ‒ a legal contract ‒ between
you and the university.
Please refer to Section V: Dining and Housing and Residence Life Policies for additional information.

Intellectual Property
The University Intellectual Property Policy applies to copyrightable material, patentable inventions and
other creations conceived by any faculty member, staff member, or student employee when substantial

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university resources, such as money or equipment, are used in connection with the conception of and/or
development of the creation. All such creations are the property of the university, subject to any applicable
agreements with funding agencies.
If a student employee has conceived a creation which may belong to the university pursuant to the
Intellectual Property Policy, it is his or her responsibility to promptly report the creation to the university.
All creations must be reported to the Office of the Vice President for Research before information about
them is published or before information relative to them is disclosed to an outside firm or agency.
Under the existing policy, net income to the university in the form of royalties and other such payments
from the creation may be shared equally with the creator(s).
Intellectual property is further governed by Virginia Polytechnic Institute and State University Policy and
Procedures No. 13000.

Missing Persons Policy
If a member of the university community has reason to believe that a student who resides in on-campus
housing is missing, they should immediately notify the Virginia Tech Police Department (VTPD) at
540-231-6411. Virginia Tech Police will generate a missing person report and initiate an investigation.
After investigating the missing person report, should the Virginia Tech Police determine that the student is
missing and has been missing for more than 24 hours, Virginia Tech Police will notify the student’s
emergency contact, or confidentially identified individual, no later than 24 hours after the student is
determined to be missing. If the missing student is under the age of 18 and is not an emancipated
individual, Virginia Tech Police will notify the student’s parent or legal guardian immediately after
Virginia Tech Police has determined that the student has been missing for more than 24 hours. As per
requirement of the law, the VTPD will inform the Blacksburg Police Department of any missing student
in order to inform them that VTPD has conducted an initial investigation and has determined that a
student is missing.
This notification will be made no later than 24 hours after the student is determined to be missing.
In addition to registering an emergency contact, students residing in on-campus housing have the option
to identify, confidentially, an individual to be contacted by Virginia Tech in the event the student is
determined to be missing for more than 24 hours. Students who wish to identify a confidential contact
can do so through the Hokie Spa website. This confidential contact information will be accessible only
to authorized campus officials and law enforcement and it will not be disclosed outside of a missing
person investigation.

Religious, Cultural, Ethnic, Meaning-Making, and Faith Based Observances
Consistent with the university’s tradition of religious tolerance, faculty and staff are encouraged to be
sensitive to students who wish to observe religious and ethnic holidays. It is the student’s responsibility to
request and provide justification for a religious accommodation, preferably during the first two weeks of
classes or as soon as the student becomes aware of the need for an accommodation. Faculty should inform
students of their willingness to make accommodations for reasonable requests. Faculty members are not
required to compromise the academic integrity of the course to accommodate religious practices. Thus,
accommodations for religious practices will be determined by the faculty and will be consistent with their
attendance policy. The Dean of Students office does not verify absences related to religious and ethnic
holidays.

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Residence Hall Fire and Fire Alarm Procedures
Residence Hall Fire and Fire Alarm Procedures are governed by Virginia Polytechnic Institute and State
University Policy and Procedures No. 5605. This policy outlines procedures to be followed should there be
a fire alarm or fire in the residence halls.

Solicitation, Sales, and Advertising on Campus
Sales, Solicitation, and Advertising on campus is governed by Virginia Polytechnic Institute and State
University Policy and Procedures No. 5215. This policy outlines the guidelines relating to sales, solicitation,
and advertising on the Virginia Tech campus and in university facilities. This policy applies to sale or
solicitation activities by students and student organizations. Violations of this policy can be adjudicated by
the governing department or Student Conduct, when appropriate. For sales and solicitation in the
residence halls, refer to the Housing Residence Hall, and Dining Policies and Procedures.

Smoking Policy
Smoking on campus is governed by Virginia Polytechnic Institute and State University Policy and
Procedures No. 1010. Violations of this policy can be adjudicated by the governing department and/or
Student Conduct, when appropriate.

Student Identiﬁcation Cards
The university student identification cards are governed by the Hokie Passport Office. Violations of this
policy can be adjudicated by the governing department and/or Student Conduct, when appropriate.

Traﬃc and Parking Regulations
Traffic and parking regulations are governed by Virginia Tech Parking Services. Violations of this policy
can be adjudicated by the governing department and/or Student Conduct, when appropriate.

University Names and Trademarks
All use of the university’s names and trademarks must have prior approval in writing from the Office of
Licensing and Trademark Administration. Examples of this use include but are not limited to T-shirts,
caps, jackets, sweatshirts, glassware, pins, banners, and other specialty items. A trademark or identifying
mark is any word, letter, mark, or symbol associated with Virginia Tech, including the university seal,
Virginia Tech, VT, Hokies, Gobblers, VPI&SU, and all other symbols that represent the university. There
is confusion over the use of the university’s name, colors, or abbreviations when printed in forms other
than the official trademark image.
According to trademark law, if a mark is in any way perceived to associate the design, product, or
organization with the university, its use falls under the proprietary rights of Virginia Tech and university
licensing policy must be followed. Only licensed vendors may reproduce Virginia Tech trademarks and
written approval from the Licensing Office is required before an order is placed. Anyone who plans to use
a Virginia Tech mark for any reason must contact the Office of University Relations at unirel@vt.edu.




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Social Media
Social media on campus is governed by Virginia Polytechnic Institute and State University Policy and
Procedures No. 1030.

Operation of Unmanned Aircraft Systems
Operation of unmanned aircraft systems on campus is governed by Virginia Polytechnic Institute and State
University Policy and Procedures No. 5820.

Global Travel
Global travel is governed by Virginia Polytechnic Institute and State University
Policy and Procedures No. 1070.

Section V: Dining Policies and Housing and Residence Life
Virginia Tech students and student organizations that have a Dining Plan are required to know and to
comply with these policies and terms. Violations of this policy can be adjudicated by the governing
department and/or Student Conduct, when appropriate.

Dining Policies and Procedures
Dining policies and procedures are governed by Dining Services. Information includesdetailing
the operation of dining plans, Dining Dollars accounts, refunds, and terms.
Required Dining Plans
All on-campus residents are required to purchase one of the major dining plans as part of their
housing/dining contract. Off-campus students may choose to purchase any dining plan.
Dining Plan Expectations
Dining plans are to be purchased by individuals, for individuals. You may, on occasion, take a guest
to join you for a meal; however, buying a dining plan to be used collectively by more than one
individual, or used to pay for another individual’s meals on a recurring basis, is a conduct violation
and will be dealt with accordingly.
Removing any items from a dining center without purchase is considered theft and will be
reported as appropriate. This includes but is not limited to: food, utensils, hardware, and
furnishings. Removing food from D2 other than what is explicitly allowed will also be considered
theft. Clear water cups are for water use only. Using a clear water cup for anything other than
water is considered theft.
Individual Dining Plans are non-transferable.
Lost ID Policy
If you lose your ID card, contact Hokie Passport Services at 540-231-5121 (Monday-Friday, 8 a.m.
to 5 p.m.) or the Virginia Tech Police Department at 540-231-6411 (after hours) so your ID card
can be deactivated to prevent misuse. You must have a driver's license or another form of photo
identification in order to report your lost ID. The university assumes no responsibility for
illegitimate purchases from your account prior to your notifying the proper authorities that it
is lost or stolen.

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All customers wishing to use a dining account to purchase food must present their Hokie Passport ID
for payment. In order to protect your account, there will be no exceptions.
Customers who have lost a Hokie Passport ID will need to do one of the following in order to eat:
   • Monday through Friday before 5 p.m., go to the Hokie Passport Office located in 100
      Student Services Building to obtain a new Hokie Passport ID card.
   • Monday through Friday after 5 p.m. or on the weekends, go to Owens Food Court to request
      and complete a lost card disclaimer. This disclaimer will allow you to eat at Owens Food Court
      or D2 (you cannot eat at Turner Place, West End Market, Hokie Grill & Co., Squires Food
      Court, DXpress, Vet Med, ABP at GLC, ABP at Goodwin, or Deet's Place). You will be required
      to obtain a new Hokie Passport ID by 5 p.m. the following business day.
   • Pay cash.
After re-validating your account, take your new ID to the dining center where you ate (during the
period without your card) to ensure your account has been correctly updated. Dining Dollars and
Hokie Passport Accounts cannot be accessed without a student ID card.
Sick Meal Policy
Students who are sick or unable to visit a dining facility due to a temporary physical disability (e.g.
broken leg or back injury) can make special arrangement for meals. To authorize a friend to pick up a
meal, call the assistant director or management staff of one of the dining centers listed below in advance
to arrange for the service and provide the following information:

   •   Name of the person who will pick up the meal
   •   Meal preference
   •   Time when the meal will be picked up
   •   Telephone number where the student can be reached
   •   Hokie Passport number of the person requesting the meal
Give your Hokie Passport and the name of the manager you spoke with to the person picking up the
meal, who must see a manager and obtain a special pass to present to the cashier. Your friend or
roommate will purchase the sick meal by charging it to your card and then have his or her card swiped
for record-keeping purposes. (No charge will be billed to the friend’s account.)
You must call for each sick meal needed. If the illness or temporary disability lasts more than two days,
a doctor’s note detailing the condition must be presented to a manager. Use the following phone
numbers to arrange for this service:

   •   Owens Food Court at Owens Hall: 540-231-6187
   •   Hokie Grill & Co. at Owens Hall: 540-231-6187
   •   West End Market at Cochrane Hall: 540-231-4779
   •   D2 at Dietrick Hall: 540-231-6130
   •   Deet’s Place at Dietrick Hall: 540-231-6130
   •   DXpress at Dietrick Hall: 540-231-6130
   •   Turner Place at Lavery Hall: 540-231-5948



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Reusable Bottle Policy
Dining Services allows the use of any reusable water bottle that meets specific criteria. These criteria are in
accordance with Health Department recommendations for Virginia Tech. Refillable bottles that meet our
criteria can only be used for water, and bottles are not permitted for use in D2 at Dietrick Hall.
Any bottles sold directly by Dining Services for drip coffee or water can also be used in the Dining facilities on
campus. Bottles sold by Dining are subject to any rules specified at point of sale.
Reusable To-Go Container Policy
All staff, students, and faculty have free access to the Reusable To-Go Program, which helps to reduce waste on
campus. While the program is free, non-returned containers may be subject to a charge at the end of each
semester. The fee associated with non-returned containers is $3.50 flex or $7.00 cash. Students are expected to
familiarize themselves with rules about to-go returns; information about how to use the program can be
accessed here.
Tapingo
Dining Services uses Tapingo as an exclusive third party provider for mobile ordering at certain dining
locations. Food purchased through Tapingo using Dining Plan funds is treated the same as any other Dining
Plan purchase and is not intended to regularly purchase food for other individuals.
When picking up the food, students should be expected to show their ID or their receipt in the Tapingo app.
Dining Services will only give food to the individual who placed the order.
Dining Services will hold all Tapingo orders for at least 30 minutes after the order is completed. Dining Services
may then discard the food and it will be remade at the expense of the customer. All requests for refunds on
orders placed through Tapingo should be directed through the Tapingo support function in the app.
Table Card Program
Virginia Tech registered student organizations, colleges, and departments may request permission to
place table cards in dining centers. Commercial advertising is not permitted.
Dine with Faculty
Our Dine with Faculty program allows student dining plan holders the opportunity to take Virginia
Tech faculty members out to eat on us. This is an opportunity for students to meet with faculty in a
casual setting to discuss mutual interests and enhance the overall educational experience.
More information is available at https://www.dining.vt.edu/plans_policies/
policies_terms_refunds.html.

Housing and Residence Life Policies
The following sections contain general policies for students living on campus. Virginia Tech students
and student organizations who live on campus or use on-campus residential facilities are required to
know and to comply with these policies. Violations of this policy can be adjudicated by the governing
department and/or Student Conduct, when appropriate.
As a member of the residential community, you are expected to abide by all of the standards of
responsibility and behavior outlined in this publication as well as the terms and conditions of your
housing/dining contract. Each student who resides on campus is required to sign a housing/dining
contract prior to assignment. You are responsible for familiarizing yourself with the terms and
conditions of the contract. You have the option of electronically signing the contract or requesting a
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paper copy; either way, when the contract is signed and returned, it becomes a binding agreement ‒ a
legal contract ‒ between you and the university.
Abandoned Items
Any personal property left in the residence hall room, common area, or in any storage area after
termination of the housing contract occupancy period is considered abandoned.
Abandoned items deemed to have value are tagged with the date and location of discovery and stored
in a temporary holding area by the Housekeeping staff.
If the item can be identified as belonging to a specific occupant or room, an email will be sent to the
resident's university email address. If the item remains unclaimed at the end of one week (seven days)
after such notification, the Housekeeping staff, at its sole discretion, may discard the item directly or
transfer it to the university surplus property office for final disposal.
An unclaimed item must be retrieved by its owner within one week (seven days) of being found, or it
will be discarded or transferred to surplus property, as stated above.
The university assumes no liability for damage or loss of any abandoned property on its premises.

Animals
For both resident students and guests, animals are not permitted in the residence halls or in
classrooms. The only exceptions are (1) animals for students with documented disabilities that have
been approved through Virginia Tech’s Services for Students with Disabilities (SSD) office, and (2)
fish contained in one aquarium, not to exceed 10 gallons, per room. For more information, see
Virginia Tech's Guidelines on Service Animals and Assistance/Support Animals.

Appliances
Residence hall rooms are not designed for and are not safe for cooking. Electrical appliances such as
electric stoves, George Foreman-type grills, toaster ovens, toasters, crock pots, sandwich makers, air
conditioners, space heaters, hot plates, and other open-coiled appliances are not permitted for usage in
residence hall rooms. Students may register with their area office personal electrical appliances for
storage purposes only. Students seeking to cook and utilize electrical appliances in the process are
expected to use one of the kitchens located in many of the residence halls. For fire safety reasons, if
residents use kitchens, they are required to monitor equipment and be present while items are cooking.
Residents must clean up the area after use.
Small appliances that have fully enclosed heating elements and are UL approved, such as coffee makers,
irons and small microwaves (1,000 watts or less), are permitted for usage in residence hall rooms.
Microwaves are not provided in public areas of residence halls. Only one small microwave per
residence hall room and per suite room is allowed. One refrigerator is permitted in each room;
however, it may not exceed 4.5 cubic feet in capacity with an electrical rating of 120 volts and no more
than 2.0 amps when in operation.
Alterations of any kind to the electrical system of a room are strictly prohibited. Multiple-outlet strips
are permitted if they are UL listed, have a maximum ampere rating of 15, and have an integral circuit
breaker over current protection. Multiple-outlet strips cannot be plugged into one another, and only two
per student are permitted. No extension cords of any kind are permitted. Halogen bulb lamps and high
intensity lamps are prohibited in residence hall rooms.

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Approved/Prohibited Items List

Appliances
Residence hall rooms are not designed for and are not safe for cooking. Electrical appliances such as
electric stoves, George Foreman-type grills, toaster ovens, toasters, crock pots, sandwich makers, air
conditioners, space heaters, hot plates, and other open-coiled appliances are not permitted for usage in
residence hall rooms. Students seeking to cook and utilize electrical appliances in the process are
expected to use one of the kitchens located in many of the residence halls. For fire safety reasons, if
residents use kitchens, they are required to monitor equipment and be present while items are cooking.
Residents must clean up the area after use.
Bicycles, Motorcycles, and Other Vehicles
Motorized vehicles, hover boards, and fuel are prohibited in all areas of the residence halls. Bike racks
are provided adjacent to most residence halls, so you should not chain your bike to telephone poles, stair
rails, etc. Also, you are permitted to keep your bikes in your residence hall room if your roommate
agrees. Bikes may not be ridden inside residence halls. They may not be placed in stairwells, lounges,
corridors, bathrooms, or any other public areas in the residence halls.
We recommend that you place your bike in your room or take it home during university breaks.
Bicycles, motorcycles, and other vehicles are further governed by Virginia Polytechnic Institute and
State University Policy and Procedures No. 5005.
Fire Arms and Ammunition
By university regulation, Virginia Tech students are prohibited from possessing or storing weapons
and/or ammunition on campus. Any student who wishes to bring a firearm and/or ammunition to
campus must store the firearm and/or ammunition at the Virginia Tech Police Department. The
department maintains a secure locked area within the department for firearm/ammunition storage
purposes. Please visit https://police.vt.edu/vtpd-services/weapons-storage.html for more information.
Weapons are further governed by Virginia Polytechnic Institute and State University Policy and
Procedures No. 5616.
Flammable Items
Flammable items, such as fuel (propane, lamp oil, solvents, gasoline, etc.), may not be stored in rooms or
around residence halls. Items that require an open flame, operate on fuel or produce heat, such as
Bunsen burners, lighted candles, incense, and alcohol burners are prohibited. Candles, incense, and
other items producing an open flame may not be burned in the residence halls, except as part of a
regulated religious ceremony approved in advance by Environmental Health and Safety Services. More
information is available at https://www.housing.vt.edu/experience/Halls/fire.html.
Weapons
By university regulation, Virginia Tech students are prohibited from possessing or storing weapons
and/or ammunition on campus. Any student who wishes to bring a firearm and/or ammunition to
campus must store the firearm and/or ammunition at the Virginia Tech Police Department. The
department maintains a secure locked area within the department for firearm/ammunition storage
purposes. Please visit https://police.vt.edu/vtpd-services/weapons-storage.html for more information
about weapons storage. Please refer to the Weapons section of the full Code of Conduct for
information about all other policies regarding weapons.
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Common Area and Public Spaces
Common Areas are defined as shared locations within residential facilities where students assume
mutual responsibility for the maintenance and upkeep of that space. Common areas may include but
are not limited to suites, lounges, laundry rooms, kitchens, bathrooms, hallways, stairwells, mail
rooms, and elevators.
Any activities that cause disruption or damage or not permitted, including but not limited to behaviors
such as hall sports.
Public use kitchens are provided in many of the facilities as a courtesy. Students using these areas are
responsible for maintaining the cleanliness of these areas after use. Students are required to clean all
pots, pans, and dishes used and return them to their proper place. All sinks, counters, and floors must
be cleaned after each use. Failure to maintain community kitchens may result in fines or other
accountability through the Student Conduct process.

Billing
Students may be billed for damage, vandalism, stolen furniture, or housekeeping charges in a common
area when the responsible individuals cannot be determined. The group billed may include one of the
following: suitemates, a portion of the floor, all the residents of a floor, or some or all residents of the
building. The location of the damage and the nature of the circumstances surrounding the damage
incident will determine the group billed.
When a common area damage situation is discovered, a Common Area Damage Alert will be posted in
the area in which the damage took place after the cost of cleanup, repair or replacement has been
determined. In addition to this posting, hall staff will make every effort possible to inform the residents
who may be charged for the damage and cost. For a listing of common damage charges, visit https://
www.housing.vt.edu/experience/moveinmoveout.html.
If the responsible individual(s) is not determined, the group will be billed approximately one month
after the repair is complete. Common area damage billings are not subject to appeal.
NOTE: A group billing will typically not be pursued if the cost of the damage is less than $2 per resident.
However, if an accumulation of damage charges exceeds the $2 minimum for the semester, a billing may
be done. Student Affairs reserves the right to bill for lower amounts at their discretion.
Communications (Email, Postal Mail, and Listserv Messages)
Student Affairs adds all residential and off-campus students holding a dining plan to a mandatory
listserv that provides direct connection to students for the dissemination of relevant information. Email
is a primary means of communication with students, particularly for time- sensitive subjects such as
utility and emergency notices. Residents are expected to check their Virginia Tech email accounts on a
regular basis and are responsible for reading and understanding the shared material. Students are also
expected to regularly check their postal mailboxes.
Contract Release
As specified in the Housing/Dining Contract, the contract shall be terminated if the student completes
requirements for graduation, or for any other reason is not enrolled in the university. (If the student
subsequently returns to the university during the contract period, the contract shall be reactivated upon
the student's re-enrollment.) The university reserves the right to terminate the contract in the interest
of order, health, maximum utilization of facilities, or disaster after due notice to the student.

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Release from the contract for considerations other than those listed above will be made upon the
recommendation of the Contract Review Committee. A request for termination does not
automatically break the contract. The committee will consider extenuating circumstances with
regard to the impact upon both the student and the university. For more information, refer to the
Housing/Dining Contract Terms and Conditions or visit https://www.housing.vt.edu/contracts/
Makingchangestocontract/release.html.

Controlled Access and Keys
In effort to promote a safe and engaging living and learning environment for members of the residential
community, all residence halls are equipped with electronic door access systems that limit entry to
residents and their escorted guests. It is the responsibility of all residents and staff to carry their Hokie
Passport cards at all times, deny entrance to any person not authorized to enter the building, and report
unescorted guests and non-residents. Concerns about unauthorized entry or suspicious individuals
should be reported promptly to hall staff and to the Virginia Tech Police Department. Because residents
have card access only to their respective building and all visitors must be escorted, you should permit
only residents you know to enter behind you and not allow tailgating; each resident and/or those with
authorized card access should swipe their card to enter.
Residents, depending on their residence hall access structure, will receive a physical key, combination,
PIN number, or electronic access through their Hokie Passport (or alternate access card) that provides
access to their individual room, suite room door as appropriate, external building doors, and their
mailbox. Virginia State law prohibits the duplication of residence hall keys for any reason. If you lose
your key, the lock must be changed and the expense billed to your account. Residents are required to
notify Housing and Residence Life of a lost key in a timely manner.
If you become locked out of your room or suite, hall staff have access to master keys and temporary
access cards and may unlock only the room (and suite, as appropriate) to which you are assigned.
Requesting this service more than three times per semester may jeopardize your privileges and
result accountability through the Student Conduct process.
If this occurs, first try to find a hall staff member to let you into the space. If you cannot find a staff
member, contact your area office. If still unable to connect with a staff member directly, contact
VTPD. Please note that housekeeping and maintenance staffs are not permitted to let residents into
their rooms.
Bypassing or tampering with any controlled access system or attempting to use access
inappropriately is not permitted and may jeopardize your privileges and result in accountability
through the Student Conduct process.
Controlled access is further governed by Virginia Polytechnic Institute and State University Policy and
Procedures No. 5615, section 2.2.5. Keys are further governed by Virginia Polytechnic Institute and
State University Policy and Procedures No. 5620.

Disability Accommodations/ADA
Housing and Residence Life works with the Services for Students with Disabilities (SSD) office
(www.ssd.vt.edu) to ensure that students with disabilities receive equal access to education and
opportunities within the academic community. SSD has primary responsibility in reviewing
accommodation requests and determining reasonable and appropriate accommodations.

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Disability accommodations relating to on-campus housing and dining follow mandates required by the
Americans with Disabilities Act (ADA) and other applicable federal and state laws.
Students with a disability desiring assistance or accommodation should notify the Senior Associate
Director for Housing Services at 540-231-6207 or email housing@vt.edu. Contact SSD at 540-231-3788
or email ssd@vt.edu. Reasonable accommodations are considered for qualified individuals with
disabilities who provide required documentation from medical professionals.
Accommodation request forms are available through the housing and SSD offices.

Distribution of Literature
Distribution of literature within the residence halls without permission from the Central Office of
Housing and Residence Life is strictly prohibited. Slipping literature under doors or randomly hanging
flyers on walls or windows inside residential space is not permitted. Entities interested in distributing
materials within residential communities must request permission by submitting a Distribution
Request Form at New Hall West 144. Materials that are approved will be limited to designated central
distribution locations.
Please refer to Virginia Polytechnic Institute and State University Policy and Procedures No. 5215 for
further information about sales, solicitation, and advertising. This policy outlines the guidelines and
procedures relating to sales or solicitation on the Virginia Tech campus. This policy applies to sale or
solicitation activities by students and student organizations.

Elevators
Freight elevators are not intended for passenger use. Any behavior that may cause damage to or impact the
operation of passenger elevators, including activities such as jumping, are not permitting and may result in
charges or accountability through the Student Conduct process.

Emergency Preparedness /Emergency Kit
A campus “Emergency,” such as a power outage, ice storm, severe weather warning, or secure-in- place
situation, will be assessed by university officials in the initial moments of the event to determine the
threat to life and property, survey damages, and plan how staff and emergency services can best re-
establish or continue to provide necessities such as shelter, food, and sanitation. Students who are not
personally at risk from the emergency should plan to carry on without services for a period of time
within the first 48 hours of an event. Students may be directed to stay in their residence hall rooms if
they aren’t damaged, or in classrooms or dining halls in case of some outside threat to the campus
community. Students are highly encouraged to prepare for self-management by maintaining a simple
emergency kit in their rooms that includes short-term food supplies. Students should follow the
directions of university officials, including faculty, staff, and Virginia Tech Police.
Further information can be found at https://www.housing.vt.edu/experience/Halls/
emergency_preparedness.html.

Emergency Evacuation
When a building’s general fire alarm sounds, all members of the building’s community are expected to
evacuate the residence hall according to established evacuation procedures and directions from university
officials. The local fire department and Virginia Tech Police respond to all building alarms.


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Refer to https://www.housing.vt.edu/experience/Halls/fire/what_to_do.html for specific evacuation
instructions. If you think you will have difficulty responding to the fire alarm or evacuating the building
quickly, consult ahead of time with your hall staff and, as appropriate, Services for Students with
Disabilities.

Fire and Life Safety Inspection
All Student Affairs facilities are operated according to a comprehensive fire and life safety program that
complies with local, state, and federal regulations. The regulatory source agencies and the complete
Student Affairs fire and safety information are available at https://www.ehss.vt.edu/programs/
FLS_inspections.php.
Student rooms, common areas, storage, and mechanical areas are subject to regular inspection by the
Virginia State Fire Marshal’s office officials, Environmental Health and Safety Services personnel and
Student Affairs staff. You are advised to be knowledgeable of the policies prior to moving into a
residence hall.

Food Deliveries on Campus
Food may be delivered to residence halls, academic/administrative offices, and outdoor locations by
vendors. Such deliveries are permitted only in response to prepaid orders or to specific orders by
resident students and employees.
Vendors making food deliveries are not allowed within the building and must be met outside the
residence hall. Residential sections of the buildings are for residents and their escorted guests only.

Hazardous Chemicals or Materials
According to the university’s Environmental Health and Safety Services, students should leave ceiling,
wall and floor materials, pipe insulation, trim paint, and window putty undisturbed because they may
contain lead or asbestos. If left undisturbed, these surfaces are safe. Areas with asbestos- containing
materials are inspected every six months to ensure that the materials are intact. The university’s
monitoring program will find and repair unsafe conditions if and when they develop.

Housekeeping
Housekeeping staff care for the public areas of the buildings during the academic year, including
bathrooms, hallways, and lounges. While Housekeeping staff members work to maintain a high level of
care for the safety and cleanliness of community common spaces, students residing within the residence
halls are held accountable for keeping shared residential areas clean and safe. Students are required to
clean their own rooms and shared suite areas, including suite bathrooms.
Housekeeping service may be provided for bathrooms shared by multiple rooms in suite-style buildings
during academic breaks, but is not provided at other points during the year.

Maintenance and Work Orders
If a room, suite, or common space requires repair, students are expected to submit a work order online. Work
orders for common spaces are generally written by hall staff. Please include full contact information when
submitting work orders. Email notifications are sent when the work order has been assigned, when technicians
enter your space, and again as work orders are completed. There is no charge for repairs or maintenance to
rooms resulting from normal use. However, repairs needed because of vandalism, misuse, or abuse will result in

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bills for the repair. It is important to understand that room sinks are not intended to have solid food waste
disposed in them. Clogged drains caused by disposal of food items, a common maintenance request by students,
may be billable to the residents of that room or community.
Maintenance emergencies, including but not limited to flooding, interruption of electrical power, broken
windows, and locks or other issues that affect the health and safety of the residents should be reported
promptly to hall staff. During the normal weekday business hours, you can also contact the Facilities
Help Desk directly at 540-231-1111. During evenings and overnight, hall staff can contact on-call
personnel to address emergencies. Virginia Tech Police may also be contacted for major incidents.
Maintenance conducts routine preventative maintenance in all buildings. Preventative maintenance
may be performed in rooms during break periods.

Mold
According to the American Society of Heating, Refrigeration, and Air-Conditioning Engineers
(ASHRAE) Guideline 55-2004, summer temperature range for indoor comfort is 73-79˚F with Relative
Humidity (RH) of 40-60 percent. Winter guidelines are for indoor temperature range of 69- 76˚F and
RH range of 30-50 percent. ASHRAE developed these recommendations for employee comfort but they
are also applicable to any indoor environment intended for human occupancy, including dorm rooms.
Microbiologists agree that mold spores are everywhere and can be very difficult to filter out since
normal use of a space by people will constantly re-seed a space with spores brought in from outdoors.
Nutrients are also very difficult to control as any organic matter will support the growth of mold.
Organic matter can include skin cells shed by humans on a daily basis, cellulose in ceiling tiles or books,
dust and debris on surfaces, and pollen or other debris brought in by people entering a space. Dusting
and vacuuming remove some but not all of the particulates in a space. Mold also requires moisture above
60 percent RH or leaks/condensation that leaves wetted materials in the room for several days in order
to bloom or thrive. It is nearly impossible to reduce mold spores to zero outside of a completely sealed
room and faculty, staff, and students must be able to move about university spaces freely. Therefore,
even with diligent housekeeping, debris related to human activity is difficult to control. That leaves us
with moisture as the one variable that can be controlled relatively easily.
Microbiologists recommend keeping RH below 60 percent to discourage the growth of mold. EHS
recommends that RH be kept below 55 percent in campus spaces to have a margin of safety.
Moisture from leaks or flooding must be aggressively dried via fans as soon as the moisture is
discovered.
Both the EPA and Virginia Department of Health are reluctant to recommend mold testing since visible
mold is an unconditional reason to clean and address moisture problems. Both agencies also consider
musty odor and presence of excess moisture a definitive way to diagnose the potential for, or current,
mold problems. The American Industrial Hygiene Association (AIHA) and the American Conference of
Governmental Industrial Hygienists (ACGIH) concur that RH consistently above 60 percent and high
moisture meter readings or visible evidence of excess moisture and/or visible mold is sufficient evidence
to determine whether there is a mold problem in a space.
Residents with mold concerns should submit a maintenance work order. It is the policy of the
facilities department to address these work orders according to the above mentioned guidelines.



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Opening and Closing Schedule for Residence Halls
Residence halls are at a low-occupancy status during all breaks. Students are required to sign up for
housing during breaks and to follow all instructions for preparing rooms for vacant periods.
Dining plans are not active during academic breaks. Most dining centers are closed. Cash operation
facilities may be open for limited service during breaks.
At the end of each semester, you are expected to check out within 24 hours of completing your last
exam. Students found in the building after closing or before opening are subject to trespassing charges
or immediate removal by Virginia Tech Police. Late departure requests are reviewed by Residence
Life staff. The residence hall schedule is available at: www.housing.vt.edu/contracts/events.html

Pest Control
Routine extermination services are provided in residence hall public areas twice a month. If you
have a pest problem (insects or rodents) in your room, submit a work order online and a pest
control professional will treat your room as soon as possible.
Residents are responsible for practicing good housekeeping in their rooms and in the residence halls to
help deter pests (e.g. proper food storage, clean bedding, prompt cleaning of dirty dishes/utensils and
dirty laundry, regular trash removal from the room, including pizza boxes, and so forth).
Residents who promote pest/vermin infestation will be responsible for the cost of extermination.
If you suspect an issue with bed bugs, please note that there is a specific process to determine if they are present
and to treat affected areas. Please notify hall staff immediately before taking any other actions.
Quiet Hours
Quiet hours are in effect Sunday through Thursday from 10p.m. to 10 a.m., and Friday and Saturday from
11:30 p.m. to 11 a.m. Rooms, hallways, and other connecting areas should be generally noise-free during
these hours. Courtesy hours are always in effect. Residents are expected to be courteous. Upon request or
complaint, students are expected to lower the noise level of their activity. During final examination
periods, quiet hours are in effect around the clock.

Renter's Insurance
The university does not accept responsibility for loss of or damage to student property. Residents are
encouraged to have adequate insurance to cover all belongings. If a homeowner's policy does not cover
belongings while in the residence hall, the student is strongly recommended and encouraged to have a
written rider for this purpose or purchase separate renter's insurance.

Resignations/Withdrawals
Residents must check out of the residence halls within 48 hours from the time of a student’s official
withdrawal or suspension from the university. Check-out includes completing the Room Condition Form
and returning any issued keys to a staff member or using the express check-out option. To obtain the
housing signature on the University Withdrawal/Resignation form, students must have an approved plan
for departure. Check-out procedures and further details can be found at https://www.housing.vt.edu/
experience/moveinmoveout.html.
Students holding a residence hall contract who leave the university during the first week of class will forfeit
$100 of their residence hall fee. Thereafter, the semester room charge, minus $100, will be refunded over

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the first six weeks of the semester. If you withdraw after the beginning of the seventh week of the semester
you will be charged the full room rate.
Residents called to active U.S. military duty are provided a full refund after following the university
guidelines for military resignations.
All refunds will be calculated from the official room check-out date, which may not necessarily be the last
day you attend class or officially resign from the university. No refund will be granted for a retroactive
resignation that occurred in a previous fiscal year.

Room Changes
The university encourages roommates to attempt to resolve issues that may be causing conflict.
Residence Life staff in the residence hall are also available to help. Should a student still desire to change
rooms, they must follow the room change procedure. Housing and Residence Life attempts to honor
room changes on a space-availability basis after the roster verification process is completed at the start of
each semester (approximately two weeks after the start of classes). Most changes require the approval of
hall staff and all room changes require the approval of Housing and Residence Life. If a student moves
without approval, they may be required to return to the previous assignment and may be subject to
accountability through the Student Conduct process.

Room Condition and Inspection

All residents will complete a Room Condition Form (RCF) when moving into a room which contains an
initial inspection report of the room's condition and furnishings. It is the responsibility of the student to
review the RCF for accuracy and completeness.
When a resident moves out of a room, hall staff will use the RCF to assess the room condition and mark any
changes from the initial condition. This assessment may result in charges for damages or cleaning.
Additional inspections happen regularly as part of formal processes such as health and safety inspections
each semester and inspections during low occupancy periods like academic breaks. Hall staff will provide
instructions about each of these inspections.

Room Decorations, Renovations, and Alterations
Decorations
Room personalization and holiday decorations must comply with regulations governing fire and electrical
safety in the residence halls. The hallway side of the room or suite door may not be decorated. Only a small
message/memo board (not exceeding 200 square inches) may be placed on this side of the door; damage to
the door must be avoided. Consult hall staff with any questions. Decorations that do not meet regulations
must be removed.
For more information, visit www.housing.vt.edu/experience/Halls/fire.html.
Please note that all curtains must have a manufacturer’s tag certifying that they are fireproof.
Furnishings
A typical residence hall at Virginia Tech consists of double-occupancy rooms with a single-sex
community bathroom on each floor. Each room (except in suite-style residence halls) is furnished with
a medicine cabinet or mirror, sink, two beds (often bunked), two mattresses, two desks, two desk
chairs, and clothing storage (which may compromise of dressers, wardrobes, or closet space).
Single rooms and suite options are limited, but sometimes available.
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A limited number of rooms are designated for permanent triple occupancy. Residence hall rooms
and windows vary in size from building to building, and sometimes there are variations within a
residence hall.
All room furnishings must remain in the room, including bed ends not currently in use.
Furnishings from other student rooms, public lounges, or study lounges are not permitted in student
rooms. If such furnishings are discovered in your room, you could be held accountable for
inappropriate behavior related to theft by the Office of Student Conduct.
You are responsible for the condition of your room, including doors, locks, telephone, windows,
walls, window screens, and all furnishings. Removing window screens is not permitted. Your safety
is important to us.
You must not move a bed in front of or near a window in such a manner that it would be possible
to roll out of bed and through an opened window or obstruct a possible escape route in the event of
a fire.
Lofts
Lofts are elevated beds that allow students to store items or place their desk under the bed. All rooms
have loftable furniture. All furniture must remain in the room. Students will be billed for any missing
furniture at checkout. Outside (self-built/purchased/rented) lofts are not permitted.
The use of “bed risers” or other elevating materials in conjunction with the beds may create an
unstable situation and are not allowed.
In Slusher Tower, only one bed may be placed in the high/lofted configuration. Requirements for bed
use/placement in Corps of Cadets areas is governed by Corps regulations.
All damages caused by the use of lofts are the responsibility of the resident.

Room Renovations and Adjustments
Prohibited attachments to student rooms include but are not limited to the following: locks, outside radio or
television antennas or dishes, additional electrical or computer wiring, ceiling fans, web cameras, and air
conditioners. Drilling of holes into rooms or suites is not allowed.

Room Entry
A staff member may enter an individual room, suite or apartment under the following guidelines:

    •   Belief that a policy violation may be occurring
    •   Belief that someone may be in danger
    •   Facility or maintenance needs
    •   Safety or health inspections
    •   To address behavior that is impacting the hall environment
In addition, the university reserves the right to enter into any residence hall space for the purposes of
inspection, improvement, repair, to control the rooms in the event of an epidemic or emergency, or
for any other purpose in accordance with the University Policies for Student Life, including
unannounced inspections by the State Fire Marshall.



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University staff will attempt to perform these functions with minimal inconvenience to residents.
Maintenance inspections are not undertaken in order to discover prohibited conduct. However, if
illegal substances or other policy violations are found in plain view during maintenance or
housekeeping work, residents of the area may be subject to police action and/or Student Conduct.
Any person charged with the enforcement of the Student Code of Conduct, University Policies for
Student Life, and residence hall policies and regulations may enter a room upon reasonable belief that a
violation is occurring. Such entry does not constitute a search.

Room Search
Searches by law enforcement personnel are conducted under the applicable provisions of the law. If a
search is conducted when you are not present, you will be notified in writing that a search has been
conducted.

Room Smoke Detectors and Sprinklers
Battery-powered smoke detectors are mounted in residence hall rooms. For more information, or if a
smoke detector fails to operate properly, contact hall staff promptly. The State Fire Marshall and hall
staff may conduct periodic room checks to ensure fire safety equipment has not been damaged or
tampered with. Unauthorized removal of or tampering with a smoke detector or its batteries will result
in accountability through the Student Conduct Process.
O’Shaughnessy, Lee, Pritchard, East and West Ambler Johnston, Slusher Hall, New Residence Hall
East, New Hall West, Peddrew-Yates, Payne, Harper, Pearson, New Cadet Hall, and the Oak Lane
houses are equipped with sprinkler systems in student rooms and public areas. You may not hang
anything on the sprinkler head or the cage,cover, or do anything that may cause it to discharge.

Sex Offender Restriction
Any individual who must register as a sex offender is prohibited from living on-campus in a
university residence hall.

Smoking and Vaping
Residence halls, like all university buildings, are smoke-free facilities. Smoking is prohibited in all areas
of the residence halls, including student rooms. Smokers should not crowd or congregate by doorways.
The perimeter of residence halls, within 25 feet of the building, is a smoke-free zone.
Please note that smoking is the lighting or burning of any pipe, cigar, or cigarette, or other tobacco
product, or the use of any electronic cigarette or vaping device. Violations of this policy in the residence
halls will result in a referral to Student Conduct. Additional details may be found in Virginia
Polytechnic Institute and State University Policy and Procedures No. 1010.

Storage
On-campus storage for student belongings is not available. Personal items excluding bikes must be
stored within the student room. Bike racks are available outside all facilities for bike storage.

Trash and Waste
Students are responsible for removing trash and recycling from their rooms in a timely manner.
Accumulated garbage attracts pests and is detrimental to the comprehensive pest management policy of
Facilities.
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Students who fail to practice good housekeeping could be responsible for associated charges for pest
management.
Medical Waste Disposal
Sharps containers are special containers for disposal of sharp medical instruments used to administer
prescribed medications. Sharps cannot be disposed of in regular trash receptacles. For more
information about obtaining and disposing of sharps containers, visit https://www.ehss.vt.edu/
programs/WRM_program_online.php. Schiffert Health Center may also serve as a resource.

Visitation and Guest Policy
Residence halls are intended for usage by students contracted to reside on-campus here at Virginia
Tech. Non-residents may only access the buildings when escorted by a resident. All guests are
governed by university and residence hall regulations. Resident hosts will be held accountable for their
visitor’s/guest’s behavior. Hosts should make sure their visitors/guests are knowledgeable of all
university policies, which include Housing and Residence Life policies.
The Housing and Residence Life Roommate Agreement is a process that empowers residents to outline
how they will share living space with their roommate(s) for the academic year. Although Housing and
Residence Life provides a visitation standard for guests, all residents through the Roommate
Agreement process have the ability to dictate whether guests will be allowed in their space, along with
the duration and behavioral expectations throughout the visit.
Non-residents and/or visitors must be escorted at all times by their host in the residence halls.
Housing and Residence Life designates residence halls as either coeducational or single-gender.
Visitation in student rooms by members of the different gender is permitted only during designated
hours as listed below.
Residents and guests are expected to use the community bathroom that matches their gender/gender
identity. While not present in all residence halls, a number of the buildings have gender neutral/ADA
accessible bathrooms available.

Daily Visitation Hours for Members of Different Gender:

Option I (Available on a by-room basis on the third floor of Johnson and Miles)
Friday-Saturday, 10 a.m.-2 a.m. Sunday, 10 a.m.-midnight
Monday-Thursday, not allowed
Option II (Johnson and Miles)
Sunday-Thursday, 10 a.m.-midnight
Friday-Saturday, 10 a.m.-2 a.m.
Option III (All other non-cadet halls, except those listed in Option IV)
Sunday-Thursday, 10 a.m.-midnight
Friday-Saturday, 10 a.m.-2 a.m.
Option IV (Hillcrest, Harper, Main Campbell, Graduate Life Center at Donaldson Brown, Payne,
Ambler-Johnston, New Residence Hall East, New Hall West, and Peddrew-Yates)
Open Visitation (24 hours per day, seven days per week)

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Corps of Cadets
Visitation policies for the Corps of Cadets halls are set up the Commandant of Cadets.
More information may be found in the Cadet Regulations or at www.vtcc.vt.edu.

Overnight Visitation Policy
Housing and Residence Life maintains that overnight visitors may not stay longer than three
concurrent days within a seven-day period and visits should be sporadic in nature (three or less visits
per month). All overnight visits must be in alignment first with the appropriate Housing and
Residence Life visitation policy and then with the agreed upon Roommate Agreement. Visitation that
appears to be excessive, to be infringing on the ability of the roommate to use the room effectively, or
that appears to be an extended stay will be addressed by building staff and may be disapproved by
Housing and Residence Life. Such actions may also be recommended to Student Conduct for
adjudication.

Telecommunications within Residence Halls
Communications Network Services (CNS) provide telecommunications services (Ethernet data
connectivity, wireless internet, and cable video services) to residence hall students. Network
Infrastructure and Services provides Ethernet and wireless network access, along with cable
television services to students’ rooms. Emergency telephones are available in residence hall
common areas and provide direct access to the Virginia Tech Police.
Information on telecommunication policies and procedures may be found at
https://www.nis.vt.edu/. The Student Network Services office is also available to answer any
questions. This office is located in room 120 in the Student Services Building and can also be
reached at 540-231-3000.
Please note that personal wireless routers are not permitted in the residence halls.
Repairing/Replacing Telecommunications or Network Equipment
In cases of damaged, altered, or stolen telecommunication, cable television equipment or connections,
and/or wireless access points, students will be jointly and severally responsible for the cost of repair and/
or replacement. If Virginia Tech is unable to identify the responsible individual, the cost will be split
between those who were residents of the room at the time the damage occurred. Students need to
contact the university’s Information Center at 540-231-4357 for repair or replacement of equipment.
Problems with theft or vandalism should be reported to the Virginia Tech Police by calling
540-231-6411.
Acceptable Use
Access to computer systems and networks owned or operated by Virginia Tech imposes certain
responsibilities and obligations and is granted subject to university policies and local, state, and federal
laws. Acceptable use always is ethical, reflects academic honesty, and shows restraint in the
consumption of shared resources.
It demonstrates respect for intellectual property, ownership of data, system security mechanisms, and
individuals' rights to privacy and to freedom from intimidation and harassment. Housing and Residence
Life cooperates with CNS and other agencies in adhering to this policy. For more information, please
see https://vt.edu/about/acceptable-use.html or Virginia Polytechnic Institute and State University
Policy and Procedures No. 7000.
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SECTION VI: ACADEMIC HONOR SYSTEMS
Overview
The university is committed to promoting and upholding academic integrity and ethical behavior among
all students and in all learning environments. Responsibility for overseeing academic integrity rests in two
systems: the Undergraduate Honor System and the Graduate Honor System.

Undergraduate Honor System
The Virginia Tech Undergraduate Honor Code is the university policy that defines the expected standards
of conduct in Academic Affairs. All students, upon admission to this university, pledge to abide by this
code, which applies to all assignments, examinations, and other academic exercises.

Graduate Honor System
The Graduate Honor Code establishes a standard of academic integrity. As such, this code demands a firm
adherence to a set of values. In particular, the code is founded on the concept of honesty with respect to the
intellectual efforts of oneself and others.
Compliance with the Graduate Honor Code requires that all graduate students exercise honesty and ethical
behavior in all their academic pursuits at Virginia Tech, whether these undertakings pertain to study,
course work, research, extension, or teaching.


SECTION VII: STUDENT COMPLAINTS
Overview
Virginia Tech is committed to providing an environment of work, study, and leisure/recreation for
students, faculty, and staff that is free from all forms of harassment, intimidation, fear, coercion, and
exploitation. Harassment is frequently directed at individuals because of age, color, disability, gender
(including pregnancy), national or ethnic origin, political affiliation, race, religion, sexual orientation,
or veteran status. Any such behavior is reprehensible and subverts the mission of the university. It can
threaten the careers, educational experience, and well-being of all members of the community.
Complaints about functions, personnel, or other members of the university community are ordinarily
handled through the normal administrative chain. Students can take the following steps to file a formal
complaint:

    •   If you are unsure of the most appropriate avenue for addressing a specific complaint, contact the
        Dean of Students Office.
    •   Write a letter to the dean, department head, or director responsible for the area of complaint.
        Include in the letter an overview of the problem and the relief requested.
There are some types of complaints for which there are formal complaint processes. Some areas for
complaints and/or concerns are explained below.

Annoying Electronic Communication and Phone Calls
Extremely urgent or emergency annoying or threatening electronic communications or phone calls may be
referred to the Virginia Tech Police at any time (Public Safety Building, 330 Sterrett Drive, 540-231-6411).

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Questions or complaints related to abusive or annoying phone calls should be referred to CNS Student
Telecommunications (email to StuTel@vt.edu, call 540-231-3000, or visit the office at 120 Student Services
Building) during normal office hours (Monday through Friday, 8 a.m. to 5 p.m.). It is also important to
contact CNS Student Telecommunications in 120 Student Services Building as soon as possible thereafter
to obtain appropriate complaint handling forms.

Bias-Related Complaints
Students who feel they have been a victim of a bias-related incident can follow several courses of action.
Students should report directly to Virginia Tech Police (Public Safety Building, 330 Sterret Drive,
540-231-6411). Students choosing to make a university report through Student Affairs should contact the
Dean of Students Office (109 E. Eggleston, dean.students@vt.edu, 540-231- 3787). Students making a
report to the Dean of Students Office may expect support and advice regarding the response from Student
Affairs. In addition, a student may submit a Student Conduct Complaint, which is a written narrative of the
incident in question, and attend an informational meeting to determine a Student Conduct response. They
may choose to have a support person with them.

Disability Discrimination Complaints
No qualified individual with a disability shall be discriminated against or excluded from participation in or
be denied the benefits of the services, programs, or activities at Virginia Tech. All student requests for
accommodations and assistance should be directed to Services for Students with Disabilities. Students who
feel they have been discriminated against because of a disability should contact Services for Students with
Disabilities at 310 Lavery Hall or 540-231-3788.

Disruption of Protected Speech
Incidents of disruption of constitutionally protected speech may be reported via the
Speech on Campus webpage.

Gender-Based Violence Complaints
Complaints against Faculty, Administration, Staff, or Graduate Student Performing a Teaching,
Advising, or Supervisory Role
A student wishing to file a complaint of gender-based violence against any member of the faculty,
administration, staff, or a graduate student performing a teaching, advising, or supervisory role should
contact the Office for Equity and Accessibility. The OEA will notify the complainant of the right to
pursue a formal complaint. The formal complaint includes a written charge and consent by the
complainant to be identified. A formal complaint of sexual harassment must be made within 300 days of
the offense. The director of the OEA or a designee will meet with the complainant and will undertake
an investigation after a written charge has been prepared.
At the time the investigation commences, the accused will be informed of the allegations and the
identity of the complainant and will be given an opportunity to respond. The OEA representative will
meet with the appropriate supervisor of the accused early in the investigation to collect further
information and to seek assistance in resolving the complaint, if appropriate. All reasonable efforts will
be made to reach a resolution in a timely manner.
In all cases, the parties will be informed promptly of the outcome. To the extent possible, the
proceedings will be conducted in a way that protects the confidentiality of all parties.
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Records of the investigation and outcomes will be kept by the OEA in accordance with applicable laws of
the Commonwealth of Virginia and of the United States of America. A complainant found to have been
intentionally dishonest in making the allegations or to have made them maliciously is subject to
university discipline.
In addition to, or in lieu of, the above procedures, students may file formal complaints with the Office for
Civil Rights of the U.S. Department of Education.
Gender-Based violence complaints are further governed by Virginia Polytechnic Institute and State
University Policy and Procedures No. 1025.

Complaints against a Student or Student Organization
Students who feel they have been the victim of a sexual misconduct can follow several different courses
of action. First and foremost, students should seek appropriate medical attention and ask for emotional
support. Physical and other medical evidence should be collected even if a student has not decided
whether to take action against the alleged assailant. Students can go to the Carilion New River Valley
Medical Center in Radford (PERK exam available), the Schiffert Health Center (no PERK exam
available), and LewisGale Hospital Montgomery (no PERK exam available) for emergency treatment.
They will receive guidance on the appropriate evidence collection processes (PERK exam).
Students who feel they have been the victim of gender-based violence may initiate university
disciplinary action against the alleged respondent. For complaints against a student or student
organization, contact the Title IX Coordinator Katie Polidoro. She can be reached at 540-231-1824 or
polidoro@vt.edu. The student can participate in the investigations conducted by the Title IX
Coordinator, which will serve as the complaint. Initiating university student conduct action does not
preclude taking civil or criminal action. A complete review of the campus student conduct process is
found in the University Student Conduct System section.

Criminal Action
Students can report incidents to the police and press criminal charges. If the Commonwealth’s Attorney
determines that there is sufficient evidence to proceed, charges will be brought against the accused in
the local courts. Crimes involving sexual assault are punishable in Virginia by sentences from five years
to life in prison. Initiating criminal action against the accused does not preclude taking civil or
university student conduct action. Students should remember that reporting an assault does not mean
that they must prosecute.

Civil Action
Students who feel they have been the victim of sexual assault may initiate a civil suit in an appropriate
court system against the alleged assailant. The purpose of a civil suit is to compensate the complainant
for the wrong that was committed. The accused, if found by the court to be liable, may be required to
pay financial compensation.
Initiating civil action against the accused does not preclude the complainant from taking criminal or
university student conduct action. Students may consult with a private attorney or Student Legal
Services at 143 Squires Student Center (540-231-4720) if there are questions about this process.
Consultation with Student Legal Services is free for Virginia Tech students.


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Grade Appeals
Undergraduate Students
The Undergraduate Course Catalog and Academic Policies are available at
www.undergradcatalog.registrar.vt.edu/
Graduate Students
The Graduate School Catalog is available at http://graduateschool.vt.edu/graduate_catalog/.

Suspicious or Criminal Activity Complaints
Suspicious or criminal activity can be reported directly to the Virginia Tech Police (230 Sterrett Drive,
540-231-6411). If you are a victim of larceny, vandalism, damage or destruction of property, or
annoying phone calls, you can file a report online at https://police.vt.edu/crime.html.

SECTION VIII: STUDENT RESOURCES
Cook Counseling Center
As a part of Cook Counseling Center, professional counselors are available to counsel complainants. Staff
members are available on a walk-in basis during regular office hours and are on 24-hour emergency call.
University Counseling Services also offers a special support group for sexual assault survivors as needed.
To access Cook Counseling, call 540-231-6557 or stop by 240 McComas Hall.

Cranwell International Center
Cranwell International Center exists to articulate, advocate, and act in support of international
students, amplifying their contributions to the Virginia Tech community and to the advancement of the
university as more globally-oriented and internationally connected. To carry out this mission, Cranwell
International Center provides a wide range of programs and services in the areas of Advocacy & Support
(primarily for undergraduate international students, but also for graduate international students for certain
programs and initiatives), Immigration & Advising (for undergraduate international students), Global/
Intercultural Competence (for the entire campus community), and Programs & Events (for the entire
campus community). Cranwell International Center is located in Harper Hall and is open Monday to
Friday, 8 a.m. to-5 p.m. You may contact Cranwell International Center via phone at 540-231-6527 or via
email at international@vt.edu.

Cultural and Community Centers
As a department within Student Affairs, Cultural and Community Centers’ programs, policies, and
personnel are aligned to uplift and examine the Aspirations for Student Learning.
Its mission is to create the conditions for underrepresented student success and to develop the cultural
competence of every Virginia Tech student. It achieves this mission in three ways: advocacy, advising, and
awareness.

Dean of Students Oﬃce
The Dean of Students Office at 109 East Eggleston serves as an advocate for all students and their support
networks in times of personal, academic, and community crisis. Members of the staff are available to meet
with students on a walk-in basis to discuss any problem or concern.

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In cases of emergency between the hours of 8 a.m. and 5 p.m., call 540-231-3787. After hours, the on-call
staff member from Dean's Staff may be reached by calling the Virginia Tech Police at 540-231-6411, ext. 1.

Graduate Student Ombudsperson
The graduate student ombudsperson helps graduate students resolve issues and address concerns that arise
within the university setting. Acting as an advocate for fairness, the ombudsperson provides information
about institutional policies and works to help graduate students manage conflicts, understand the
university system and learn more productive ways of communicating.
The office provides a safe place for graduate students to be heard and to receive impartial attention without
fear of loss of privacy. Consultations are kept confidential, unless the student grants the ombudsperson
permission to discuss issues with involved parties or administrators.

Hokie Wellness
Hokie Wellness is a department within Student Affairs that provides direct support to students for the
purpose of improving health and well-being. Educational offerings include workshops, one-on-one
sessions, outreach, and a variety of other services to meet student health needs. Offerings primarily include
the following topics: alcohol and other substance abuse prevention, mental health, sleep, sexual health,
positive body image, sun safety, and nutrition. All services are free of charge, unless mandated for conduct
reasons. For more information on conduct-related wellness services, to schedule a one-on-one session, or
to learn more about other offerings, please contact their main office at 540-231-2233, or at
hokiewellnessaod@vt.edu.

Housing and Residence Life
Staff members in Housing and Residence Life (144 New Hall West, 231-6205) serve as advocates for
residential students and provide safe, comfortable living spaces that support learning. Members of the staff
are available to meet with students on a walk-in basis to discuss any problem or concern related to
facilities. They can provide resource information and assist with any residential questions.

Schiﬀert Health Center
Schiffert Health Center is Virginia Tech's on-campus health care center. Wellness and health services are
designed to promote the current and future well-being of our student-patients through the provision of
nationally accredited health care to promote healthy lifestyles.
Schiffert Health Center offers designated clinics and services that are cost-effective and responsive to
student needs so as to reduce the impact of illness and other health concerns which may interfere with
student success at Virginia Tech.
The student health fee, included in each year’s tuition, covers the majority of services provided by Schiffert
Health Center — unlimited visits and most laboratory procedures. However, some services require a
minimal health center charge. If you visit or are referred to any outside healthcare provider, you are
responsible for all charges incurred there.
Schiffert Health Center’s medical staff members also provide follow-up care for physical or sexual assault
victims. Through the Women’s Clinic and the Men’s Clinic (McComas Hall, 231-6444), continuing
medical and emotional support from physicians, nurses, and health educators is available. Physical
examinations, sexually transmitted disease screening, and pregnancy testing are provided.

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Services for Students with Disabilities
Services for Students with Disabilities (SSD) exists to assist Student Affairs and the university with
advancing their missions and with protecting students' civil rights under the Americans with Disabilities
Act. SSD establishes clear guidelines and procedures, creates collaborative partnerships, and provides
progressive services to promote student learning, personal growth, and development of life skills. SSD
endeavors to create a campus climate in which students with disabilities experience full access and inclusion
in curricular and co-curricular opportunities in the academic community.

Title IX
Title IX of the Education Amendments of 1972 prohibits sex discrimination, including sexual violence, in
educational programs and activities. All public and private schools, school districts, colleges, and
universities receiving federal funds must comply with Title IX. A Title IX investigation begins when the
university’s Title IX Coordinator or their designee receive a report that may violate Title IX, which
prohibits sex discrimination, including sexual violence, in educational programs and activities.

Virginia Tech Police Department
The Virginia Tech Police Department (VTPD) strives to enhance the safety and quality of life for students,
faculty, staff, and visitors through effective law enforcement and proactive crime prevention in partnership
with the university community. The department is accredited by the Commission on Accreditation for
Law Enforcement Agencies, Inc. (CALEA) and the International Association of Campus Law Enforcement
Administrators (IACLEA). VTPD keeps crimes statistics, offers many programming and training
opportunities, and provides several safety and security services.
VTPD can be reached at 911 (for emergencies), 540-382-4343 (for non-emergencies), and 540-231-6411
(for general information).

Women's Center at Virginia Tech
The Women's Center at 206 Washington Street serves students, faculty, and staff of Virginia Tech and
promotes a Virginia Tech community that is safe, equitable, and supportive for women and that celebrates
their experiences, achievements, and diversity.
The Women’s Center offers individual services, counseling, and advocacy; university-wide advocacy;
educational programming and outreach; gender-based violence awareness; and student engagement
through volunteerism.
Additionally, the Women’s Center offers crisis support for sexual assault and harassment, provides
advocacy during student conduct and harassment procedures, and works to enhance communication
among women and the larger community. The counseling and advocacy coordinator works closely with
crisis intervention, law enforcement officers, faculty, residence hall staff, counseling services, health
services, Dean of Students Office staff, and the University Student Conduct System. Call 540-231-7806.




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